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                                                                         D-CNL001125
                                                                   Appx. 02785
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                                                                         D-CNL001126
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                                                                         D-CNL001127
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                                                                         D-CNL001128
                                                                   Appx. 02788
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                                                                   Appx. 02789
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Case 3:21-cv-00881-X Document 178-5 Filed 01/09/24   Page 8 of 200 PageID 41801




                                                                         D-CNL001132
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                                                                   Appx. 02794
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                                                                   Appx. 02801
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                           EXHIBIT 175




                                                                    Appx. 02814
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                                  Pachulski Stang Ziehl & Jones LLP
                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                       June 30, 2021
 Board of Directors                                                    Invoice 128195
 Highland Capital Management LP                                        Client    36027
 300 Crescent Court ste. 700                                           Matter    00002
 Dallas, TX 75201
                                                                                 JNP

 RE: Postpetition

  _______________________________________________________________________________________

           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/30/2021




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                                                                                         Appx. 02815
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                                                                   Appx. 02816
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                                                                   Appx. 02833
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                                                                   Appx. 02845
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                                                                   Appx. 02850
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                           EXHIBIT 176




                                                                    Appx. 02853
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                                  Pachulski Stang Ziehl & Jones LLP
                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                       July 31, 2021
 Board of Directors                                                    Invoice 128292
 Highland Capital Management LP                                        Client    36027
 300 Crescent Court ste. 700                                           Matter    00002
 Dallas, TX 75201
                                                                                 JNP

 RE: Postpetition

  _______________________________________________________________________________________

           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2021




                                                                                               D-CNL001017
                                                                                         Appx. 02854
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                                                                   Appx. 02859
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                                                                   Appx. 02860
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                           EXHIBIT 177




                                                                    Appx. 02879
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                                  Pachulski Stang Ziehl & Jones LLP
                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                       August 31, 2021
 Board of Directors                                                    Invoice 128567
 Highland Capital Management LP                                        Client   36027
 300 Crescent Court ste. 700                                           Matter   00003
 Dallas, TX 75201
                                                                                JNP

 RE: Post-Effective Date

  _______________________________________________________________________________________

           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2021




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 Highland Capital Management LP                                                                     Invoice 128567
 36027 - 00003                                                                                      August 31, 2021




   Notes Litigation
  08/11/2021   JJK     NL        Prepare HCM objection to motion to reconsider.              4.20        995.00       $4,179.00

  08/11/2021   JAM     NL        Review stipulations for each adversary proceeding           0.50      1245.00         $622.50
                                 (0.4); e-mails w/ M. Aigen re: scheduling
                                 stipulations (0.1).

  08/11/2021   HRW     NL        Draft motion to file amended complaints for notes           2.80        695.00       $1,946.00
                                 litigations (2.8)

  08/12/2021   JJK     NL        Research and prepare replies re: Reports, motions to        5.20        995.00       $5,174.00
                                 reconsider; emails Kharasch on same.

  08/12/2021   LSC     NL        Retrieve and transmit Reports and                           0.30        460.00        $138.00
                                 Recommendations regarding notes litigations for J.
                                 Morris.

  08/12/2021   HRW     NL        Draft motion to file amended complaints for notes           3.00        695.00       $2,085.00
                                 litigations (3.0)

  08/13/2021   IDK     NL        E-mail H Winograd re updated litigation WIP list            0.20      1325.00         $265.00
                                 with focus on deadlines re matters on Dondero
                                 entities motions for withdrawal of reference.

  08/13/2021   IDK     NL        E-mail J Kim re draft of response to HCMS motion            0.40      1325.00         $530.00
                                 to reconsider to D Court, including review of same
                                 and new argument.

  08/13/2021   JAM     NL        Review motion to amend complaint and proposed               1.50      1245.00        $1,867.50
                                 orders (0.9); e-mails w/ G. Demo, H. Winograd re:
                                 motion to amend complaint and proposed orders
                                 (0.2); e-mails w/ M. Aigen, others, re: scheduling
                                 order and motion to amend complaints (0.4).

  08/13/2021   GVD     NL        Review open issues re notes litigation and                  0.40        950.00        $380.00
                                 correspondence with H. Winograd re same

  08/13/2021   HRW     NL        Edit and finalize motions to file amended complaints        1.20        695.00        $834.00
                                 in notes litigations (1.2).

  08/16/2021   IDK     NL        Review and consider revised response to HCMS                0.70      1325.00         $927.50
                                 motion to reconsider R&R (.3); E-mails with J
                                 Pomerantz re same and Texas litigation counsel (.2);
                                 E-mails with J Kim re my feedback on draft of same
                                 and timing for filing today (.2).

  08/16/2021   JJK     NL        Emails Kharasch, Pomerantz on motions to                    1.50        995.00       $1,492.50
                                 reconsider; related research and final revisions to
                                 last reply re: Reports.

  08/16/2021   JNP     NL        Review response to motion for reconsideration of            0.10      1295.00         $129.50




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                                                                                                            Appx. 02881
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 Highland Capital Management LP                                                                      Invoice 128567
 36027 - 00003                                                                                       August 31, 2021


                                                                                             Hours           Rate      Amount
                                 order adopting report and recommendations.
  08/17/2021   JAM     NL        Review/revise motions for leave to amend                     1.40      1245.00        $1,743.00
                                 complaints in Notes Litigation (1.1); e-mail to L.
                                 Canty, Z. Annable, H. Winograd re: motions for
                                 leave to amend complaints in Notes Litigation and
                                 related matters (0.2); e-mails w/ Z. Annable, H.
                                 Winograd re: motions to amend complaints in Notes
                                 Litigation (0.1).

  08/17/2021   LSC     NL        Prepare and transmit exhibits to motions to amend.           0.50        460.00        $230.00

  08/18/2021   JAM     NL        Communications w/ M. Aigen, Z. Annable re: form              0.40      1245.00         $498.00
                                 of Order for motions for leave to amend complaints
                                 (0.2); tel c. w/ D. Rukavina re: Advisors’ motion for
                                 protective order (0.2).

  08/18/2021   LSC     NL        Transmit proposed orders on motions to amend.                0.20        460.00         $92.00

  08/19/2021   JAM     NL        Revise Advisors’ draft Stipulation resolving their           0.70      1245.00         $871.50
                                 motion for a protective order (0.5); draft e-mail to D.
                                 Rukavina re: revised Stipulation resolving Advisors’
                                 motion for a protective order (0.2).

  08/20/2021   JNP     NL        Conference with John A. Morris regarding                     0.20      1295.00         $259.00
                                 protective order regarding notes litigation.

  08/20/2021   JAM     NL        E-mails w/ D. Rukavina re: proposed settlement of            0.20      1245.00         $249.00
                                 motion for protective order (0.1); e-mails w/ J.
                                 Seery, J. Pomerantz, G. Demo re: Advisors’ motion
                                 for a protective order (0.1).

  08/24/2021   HRW     NL        Draft notice of filing stipulations re: notes litigation     2.20        695.00       $1,529.00
                                 (2.2).

  08/25/2021   JAM     NL        E-mails w/ H. Winograd re: HCMFA scheduling                  0.10      1245.00         $124.50
                                 stipulation (0.1).

  08/25/2021   HRW     NL        Draft proposed orders re: notes litigation (2.5);            2.60        695.00       $1,807.00
                                 Communicate with opposing counsel for HCMFA
                                 re: notes stipulation (0.1).

  08/26/2021   JAM     NL        E-mails w/ H. Winograd, Z. Annable re: filing of             0.40      1245.00         $498.00
                                 Amended Complaints (0.2); e-mails w/ H.
                                 Winograd, D. Rukavina re: scheduling order for
                                 HCMFA notes litigation (not subject to amended
                                 complaint) (0.2).

  08/26/2021   LSC     NL        Prepare exhibits to amended complaints (.7); prepare         1.00        460.00        $460.00
                                 exhibits to orders approving discovery stipulations
                                 (.3).

  08/26/2021   HRW     NL        Prepare and review amended complaints and                    1.70        695.00       $1,181.50




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                                                                                                             Appx. 02882
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                                                                   Appx. 02883
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                            EXHIBIT 178




                                                                    Appx. 02884
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                                   Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                         August 10, 2021
  Board of Directors                                                     Invoice 128474
  Highland Capital Management LP                                         Client   36027
  300 Crescent Court ste. 700                                            Matter   00002
  Dallas, TX 75201
                                                                                  JNP

  RE: Postpetition

   _______________________________________________________________________________________

            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/10/2021




                                                                                                 D-CNL000959
                                                                                           Appx. 02885
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                                                                    Appx. 02886
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  Pachulski Stang Ziehl & Jones LLP                                                                Page:    11
  Highland Capital Management LP                                                                   Invoice 128474
  36027 - 00002                                                                                    August 10, 2021


                                                                                          Hours            Rate      Amount
                                  production and search issues.
   05/25/2021   CHM     BL        Emails with J. Morris and B. Sharp re document           0.30        750.00         $225.00
                                  production.
   05/26/2021   CHM     BL        Prepare Nexpoint document production and check           3.20        750.00        $2,400.00
                                  document being produced; email H. Winograd re
                                  same.
   05/26/2021   CHM     BL        Review email from H. Winograd re RFPs and reply.          0.10       750.00          $75.00
   05/27/2021   CHM     BL        Review requests for production and documents             4.00        750.00        $3,000.00
                                  being produced and search terms run for
                                  completeness.
   05/27/2021   CHM     BL        Review search terms and exchange emails with H.          1.10        750.00         $825.00
                                  Winograd and IDS team re new production searches.
   05/28/2021   CHM     BL        Review email from J. Vaughn and reply.                   0.10        750.00          $75.00
   05/28/2021   CHM     BL        Run document production and review of documents          1.80        750.00        $1,350.00
                                  being produced.
   06/02/2021   CHM     BL        Review document production issues and coordinate         0.30        750.00         $225.00
                                  with IDS team re same.
   06/02/2021   CHM     BL        Email H. Winograd re document production issues.          0.10       750.00          $75.00
   06/03/2021   CHM     BL        Review RFPs and coordinate searches with IDS             3.20        750.00        $2,400.00
                                  team; review document hits re same.
   06/04/2021   CHM     BL        Review UDF documents for responsiveness and run          4.30        750.00        $3,225.00
                                  production re same.
   06/07/2021   CHM     BL        Review email from B. Sharp and reply.                     0.10       750.00          $75.00
   06/07/2021   CHM     BL        Review RFPs and proposed search terms; email IDS         2.50        750.00        $1,875.00
                                  team re same and review results.
   06/09/2021   CHM     BL        Correspond with G. Crane and H. Winograd re              3.00        750.00        $2,250.00
                                  privilege review and begin preparation of privilege
                                  assignments.
   06/09/2021   CHM     BL        Review documents for responsiveness and run              3.70        750.00        $2,775.00
                                  production.
   06/09/2021   CHM     BL        Email IDS team re additional searches.                    0.20       750.00         $150.00
   06/10/2021   CHM     BL        Review parties list and update privilege breaker list    1.80        750.00        $1,350.00
                                  and email same to G. Demo.
   06/10/2021   CHM     BL        Review email from J. Sommer re UDF privilege             0.10        750.00          $75.00
                                  holdback and reply.
   06/11/2021   CHM     BL        Review documents flagged by G. Crane and reply re        0.30        750.00         $225.00
                                  same.
   06/11/2021   JAM     BL        Telephone conference with G. Demo, H. Winograd           1.80       1245.00        $2,241.00
                                  re: HCMFA and NexPoint motions to amend (0.5);




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                            EXHIBIT 179




                                                                    Appx. 02905
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                                  OLWLJDWLRQV  
      -$0      1/       5HYLHZRIGRFXPHQWVDQGGRFNHWDQGHPDLOVWR-                        
                                  .URSS-3RPHUDQW]*'HPR+:LQRJUDGUH
                                  IDFWVDQGDUJXPHQWVFRQFHUQLQJRSSRVLWLRQWR
                                  PRWLRQWRFRPSHODUELWUDWLRQ  IXUWKHU
                                  FRPPXQLFDWLRQVZ-.URRSUHDUELWUDWLRQPRWLRQ
                                    
      +5:      1/       'UDIWDQGUHVHDUFKUHPRWLRQWRGLVPLVVLQQRWHV                        
                                  OLWLJDWLRQV  
      -$.      1/       (PDLOFRUUHVSRQGHQFHZLWK-RKQ0RUULVUHJDUGLQJ                         
                                  YDULRXVDUJXPHQWVSHUWDLQLQJWRZDLYHUDQGHVWRSSHO 
                                  IRUDUELWUDWLRQPRWLRQREMHFWLRQUHYLHZDQGDQDO\]H
                                  WUDQVFULSWVIURPSUHYLRXVKHDULQJEHJLQUHVHDUFK
                                  UHJDUGLQJYDULRXVDUJXPHQWVIRUDUELWUDWLRQ
                                  REMHFWLRQ
      ,'.      1/       5HYLHZRIRUGHUIURP'LVWULFW&RXUWRQRUGHURI                             
                                  UHIHUHQFHUH'$)DFWLRQLQFOXGLQJ(PDLOIURP- 
                                  0RUULVUHVDPH
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                  OLWLJDWLRQV  
      -$.      1/       'UDIWLQJRISRUWLRQVRIREMHFWLRQWRDUELWUDWLRQ                        
                                  PRWLRQUHVHDUFKOHJDOLVVXHVIRUXVHLQVDPHHPDLOV 
                                  ZLWK-RKQ0RUULVUHJDUGLQJDGGLWLRQDODUJXPHQWV
                                  DQGVXSSRUWIRUVDPHUHYLHZDQGDQDO\]HSURYLVLRQV
                                  RIOLPLWHGSDUWQHUVKLSDJUHHPHQWIRUXVHLQ
                                  DUJXPHQWVLQRSSRVLWLRQRIDUELWUDWLRQDJUHHPHQW
                                  PHPRRXWOLQLQJOHJDOLVVXHVWREHUHVHDUFKHGDQG 
                                  VXSSRUWLQJGLUHFWLRQ
      *9'      1/       &RUUHVSRQGHQFHZLWKWHDPUHDELOLW\WRHQIRUFH                               
                                  DUELWUDWLRQLQUHMHFWHGDJUHHPHQW
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                           
                                  OLWLJDWLRQV  
      +5:      1/       5HYLHZSULRUGLVFRYHU\5 26VHQWWRDOOSDUWLHVLQ                           
                                  QRWHVOLWLJDWLRQV  
      +5:      1/       'UDIW5 2VIRUGLVFRYHU\UHTXHVWVLQFRQVROLGDWHG                        
                                  QRWHVOLWLJDWLRQ  
      --.      1/       (PDLOV.URRS.HDQHRQUHVHDUFKIRURSSWR                              
                                  'RQGHURPRWLRQUHDUELWUDWLRQUHVHDUFKIRULQVHUWV
      --.      1/       5HVHDUFKIRURSSWRPRWLRQUHDUELWUDWLRQ                              
      --.      1/       5HVHDUFKIRURSSWRDUELWUDWLRQPRWLRQDQGHPDLOV                       
                                  .URRSRQVDPH




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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                    3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                       ,QYRLFH 
                                                                                            6HSWHPEHU


                                                                                              +RXUV            5DWH         $PRXQW
      -$0      1/       5HYLHZGHIHQGDQWV GLVFRYHU\GHPDQGV  WHOF                        
                                  Z*'HPRUHUHVSRQVHVWR5)$V FRUSRUDWH
                                  LVVXHV   WHOFZ+:LQRJUDGUHGRFXPHQW
                                  UHTXHVWVDQGUHVSRQVHV  WHOFZ*'HPRUH
                                  UHVSRQVHVWRGLVFRYHU\  HPDLOVZ76XUJHQW
                                  '.ORV*'HPR+:LQRJUDGUHHPDLOVHDUFKHV
                                  IRU1DQF\'RQGHUR  
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHGLVFRYHU\LVVXHV                                   
      *9'      1/       &RQIHUHQFHZLWK+:LQRJUDGUHUHVSRQVHWRPRWLRQ                              
                                  WRGLVPLVV
      *9'      1/       'UDIWUHVSRQVHVWRGLVFRYHU\TXHVWLRQVDQG                                     
                                  FRUUHVSRQGHQFHZLWK-0RUULVUHVDPH
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVOLWLJDWLRQVWDWXV                            
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                            
                                  OLWLJDWLRQV  
      +5:      1/       'UDIW5 2VIRUGLVFRYHU\UHTXHVWVLQFRQVROLGDWHG                          
                                  QRWHVOLWLJDWLRQ  
      +5:      1/       &DOOZLWK-0RUULVUHGLVFRYHU\UHTXHVWVLQ                                  
                                  FRQVROLGDWHGQRWHVOLWLJDWLRQ  
      -$.      1/       ([WHQVLYHGUDIWLQJRIRSSRVLWLRQWRDUELWUDWLRQ                           
                                  PRWLRQOHJDOUHVHDUFKUHJDUGLQJLVVXHVDQG
                                  DUJXPHQWVIRUVDPHHPDLOVZLWKLQWHUQDOUHVHDUFK 
                                  JURXSUHJDUGLQJLVVXHVIRUUHVHDUFKLQJDQGUHODWHG
                                  PDWWHUV
      --.      1/       5HVHDUFKIRURSSWRDUELWUDWLRQPRWLRQFRQIFDOO                        
                                  .URRSDQG.HDQHRQVDPH  
      --.      1/       5HVHDUFKIRURSSWRDUELWUDWLRQPRWLRQ                                    
      -13      1/       5HYLHZRIHPDLOVIURP1'RQGHUR&RQIHUHQFH                                  
                                  ZLWK-RKQ$0RUULVUHJDUGLQJVDPH
      -$0      1/       7HOFZ/&DQW\UHGRFXPHQWUHYLHZ  WHOF                      
                                  Z-6HHU\UHVWUDWHJ\IRUUHVSRQGLQJWRPRWLRQV 
                                    WHOFZ-3RPHUDQW]UHVWUDWHJ\IRU
                                  UHVSRQGLQJWRPRWLRQV  UHYLHZGRFXPHQWV
                                    
      /6&      1/       %HJLQSUHSDUDWLRQRIGRFXPHQWSURGXFWLRQV                                  
      *9'      1/       &RUUHVSRQGHQFHUHUHVHDUFKLWHPVUHDUELWUDWLRQ                                 
                                  GHPDQG
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVGLVFRYHU\                                     
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHVWDWXVRIQRWHV                                   
                                  OLWLJDWLRQDQGQH[WVWHSV




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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                    3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                       ,QYRLFH 
                                                                                            6HSWHPEHU


                                                                                              +RXUV            5DWH         $PRXQW
      +5:      1/       *DWKHUGRFXPHQWVIRUGLVFRYHU\UHTXHVWVLQ                                     
                                  FRQVROLGDWHGQRWHVOLWLJDWLRQ  
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                            
                                  OLWLJDWLRQV  
      -$.      1/       5HYLHZDQGDQDO\]HLQLWLDOUHVHDUFKUHVXOWVRQLVVXHV                     
                                  SHUWDLQLQJWRDUELWUDWLRQRSSRVLWLRQIURP-RQDWKDQ
                                  .LPDQG3HWHU.HDQHH[WHQVLYHGUDIWLQJRI
                                  DUELWUDWLRQRSSRVLWLRQDGGLWLRQDOFDVHUHVHDUFKDQG
                                  DQDO\VLVUHJDUGLQJDUJXPHQWVIRUVDPHFRQIHUZLWK 
                                  -RQDWKDQ.LPDQG3HWHU.HDQHUHJDUGLQJVDPH
      -13      1/       &RQIHUHQFHZLWK-RUGDQ$.URRSUHJDUGLQJ                                     
                                  RSSRVLWLRQWRPRWLRQWRFRPSHODUELWUDWLRQ
      -$0      1/       7HOFZ-6HHU\UHRSSRVLWLRQWRPRWLRQV                         
                                  UHYLHZGRFXPHQWVDQGEHJLQSUHSDULQJIRU
                                  GHSRVLWLRQV  
      *9'      1/       5HYLHZGLVFRYHU\UHVSRQVHVWRQRWHVOLWLJDWLRQ                                  
      +5:      1/       &DOOZLWK-0RUULVDQG'6,UHGLVFRYHU\UHTXHVWVLQ                          
                                  FRQVROLGDWHGQRWHVOLWLJDWLRQ  
      +5:      1/       'UDIW5 2VIRUGLVFRYHU\UHTXHVWVLQFRQVROLGDWHG                          
                                  QRWHVOLWLJDWLRQ  
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                             
                                  OLWLJDWLRQV  
      -$.      1/       &RQWLQXHGUHVHDUFKDQGDQDO\VLVRIFDVHVLQ                               
                                  FRQQHFWLRQZLWKDUELWUDWLRQRSSRVLWLRQVWUDWHJ\
                                  GLVFXVVLRQZLWK-HII3RPHUDQW]UHJDUGLQJVDPH 
                                  H[WHQVLYHDGGLWLRQDOGUDIWLQJDQGUHYLVLRQRI
                                  DUELWUDWLRQRSSRVLWLRQ
      -$0      1/       5HYLHZUHYLVHRSSRVLWLRQWRPRWLRQWRGLVPLVV                        
                                  WHOFZ-6HHU\UHVWDWXVDQGVWUDWHJ\IRUQRWHV
                                  OLWLJDWLRQ  
      -$0      1/       &RPPXQLFDWLRQVZ-6HHU\'.ORV'1HZPDQ                                
                                  UHUHVSRQVHVWRGLVFRYHU\  
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                             
                                  OLWLJDWLRQV  
      -$.      1/       $GGLWLRQDOUHVHDUFKRQLVVXHVSHUWDLQLQJWR                               
                                  DUELWUDWLRQRSSRVLWLRQDGGLWLRQDOGUDIWLQJRI
                                  RSSRVLWLRQHPDLOWR-HII3RPHUDQW]DQG-RKQ0RUULV
                                  UHJDUGLQJVDPHZLWKH[SODQDWLRQRIDSSURDFKDQG 
                                  UHODWHGVXJJHVWLRQV
      -13      1/       5HYLHZRSSRVLWLRQWRPRWLRQWRDUELWUDWH                                      
      -13      1/       &RQIHUHQFHZLWK-RKQ$0RUULVUHJDUGLQJ                                      
                                  RSSRVLWLRQWRPRWLRQWRDUELWUDWH




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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                         6HSWHPEHU


                                                                                            +RXUV           5DWH         $PRXQW
      -13      1/       &RQIHUHQFHZLWK-RKQ$0RUULVDQG-RUGDQ$                               
                                  .URRSUHJDUGLQJUHVSRQVHWRPRWLRQWRDUELWUDWH
      -$0      1/       5HYLHZUHYLVHRSSRVLWLRQWRPRWLRQWRGLVPLVV                     
                                  UHYLHZUHYLVHZULWWHQUHVSRQVHVWRGLVFRYHU\  
                                  HPDLOVZ-6HHU\-3RPHUDQW]*'HPR+
                                  :LQRJUDGUHZULWWHQUHVSRQVHVWRGLVFRYHU\  
                                  WHOFZ-6HHU\UHZULWWHQUHVSRQVHVWRGLVFRYHU\
                                    WHOFZ-3RPHUDQW]UHRSSRVLWLRQVWR07'
                                  DQGDUELWUDWLRQ  WHOFZ-3RPHUDQW]-.RRS
                                  UHRSSRVLWLRQWRPRWLRQWRFRPSHODUELWUDWLRQ  
                                  IXUWKHUUHYLVLRQVWRZULWWHQUHVSRQVHVWRGLVFRYHU\
                                    FRPPXQLFDWLRQVZ-6HHU\UHUHVSRQVHVWR 
                                  ZULWWHQGLVFRYHU\  
      /6&      1/       &RQWLQXHGSUHSDUDWLRQRIGRFXPHQWSURGXFWLRQV                           
      *9'      1/       5HYLHZUHVSRQVHWRPRWLRQWRGLVPLVVOLWLJDWLRQ                              
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                  OLWLJDWLRQV  
      +5:      1/       *DWKHUSURGXFWLRQIRUFRQVROLGDWHGQRWHVGLVFRYHU\                      
                                   
      +5:      1/       'UDIWDQGUHYLHZ5 2VIRUGLVFRYHU\UHTXHVWVLQ                         
                                  FRQVROLGDWHGQRWHVOLWLJDWLRQ  
      +5:      1/       6HQGRSSRVLQJFRXQVHO5 2VLQFRQVROLGDWHGQRWHV                            
                                  OLWLJDWLRQ  
      +5:      1/       6HQGRSSRVLQJFRXQVHOSURGXFWLRQLQFRQVROLGDWHG                             
                                  QRWHVOLWLJDWLRQ  
      -$.      1/       6WUDWHJ\GLVFXVVLRQZLWK-RKQ0RUULVDQG-HII                          
                                  3RPHUDQW]UHJDUGLQJRSSRVLWLRQWRDUELWUDWLRQ
                                  PRWLRQDQGUHODWHGPDWWHUVH[WHQVLYHDGGLWLRQDO
                                  GUDIWLQJUHVHDUFKDQGUHYLHZRILVVXHVDQGSRUWLRQV
                                  RIDUELWUDWLRQPRWLRQRSSRVLWLRQZRUNZLWK*UHJ
                                  'HPRUHJDUGLQJFRQILUPDWLRQUHODWHGFLWDWLRQVDQG 
                                  EDFNJURXQGIRUXVHLQRSSRVLWLRQDGGLWLRQDOGUDIWLQJ
                                  DQGUHYLVLRQVWRDUELWUDWLRQRSSRVLWLRQ
      -13      1/       5HYLHZODWHVWYHUVLRQRIRSSRVLWLRQWRPRWLRQWR                           
                                  DUELWUDWHDQGHPDLOVUHJDUGLQJVDPH
      -13      1/       5HYLHZRSSRVLWLRQWRPRWLRQWRGLVPLVV                                     
      -0)      1/       5HYLHZUHVSRQVHVWRPRWLRQWRGLVPLVVDQG                                  
                                  DUELWUDWLRQ
      -$0      1/       5HYLHZUHYLVHGUDIWRSSRVLWLRQWRPRWLRQWRFRPSHO                    
                                  DUELWUDWLRQ  HPDLOVZ-6HHU\-3RPHUDQW]
                                  -.RRS*'HPR+:LQRJUDGUHRSSRVLWLRQWR
                                  PRWLRQWRFRPSHODUELWUDWLRQ  WHOFZ-6HHU\
                                  UHRSSRVLWLRQWRPRWLRQWRFRPSHODUELWUDWLRQ  




                                                                                                                  D-CNL003819
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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                   3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                      ,QYRLFH 
                                                                                           6HSWHPEHU


                                                                                             +RXUV            5DWH         $PRXQW
                                  WHOFZ-.RRSUHPRWLRQWRFRPSHODUELWUDWLRQ
                                    IXUWKHUUHYLHZDQGUHYLVLRQVWRRSSRVLWLRQWR
                                  PRWLRQVWRGLVPLVVDQGWRFRPSHODUELWUDWLRQ  
                                  FRPPXQLFDWLRQVZ+:LQRJUDG-.RRSUH
                                  RSSRVLWLRQVWRPRWLRQWRGLVPLVVDQGWRFRPSHO
                                  DUELWUDWLRQ  
      /6&      1/       3UHSDUHGUDIWGHFODUDWLRQLQVXSSRUWRIRSSRVLWLRQWR                         
                                  0RWLRQWRFRPSHO$UELWUDWLRQDQG6WD\/LWLJDWLRQ
                                  UHYLVHVDPHDQGSUHSDUHH[KLELWVWRVDPH
      *9'      1/       5HYLHZPRWLRQWRGLVPLVVUHVSRQVH                                              
      +5:      1/       'UDIWDQGILOHRSSRVLWLRQWRPRWLRQWRGLVPLVVLQ                         
                                  QRWHVOLWLJDWLRQV  
      -$.      1/       ([WHQVLYHUHYLVLRQVUHYLHZDQGHGLWLQJRI                              
                                  RSSRVLWLRQWRDUELWUDWLRQPRWLRQHGLWVDQGUHYLHZRI
                                  GHFODUDWLRQLQVXSSRUWRIVDPHFRQIHURYHU
                                  WHOHSKRQHDQGHPDLOVZLWK-RKQ0RUULVDQG-HII
                                  3RPHUDQW]UHJDUGLQJVDPHILQDOHGLWVDQG
                                  SUHSDUDWLRQRIRSSRVLWLRQIRUILOLQJDQGVHUYLFH
                                  VXSHUYLVHILOLQJDQGVHUYLFHRIVDPHZLWKGUDIWLQJRI
                                  FRYHUUHVSRQVHSHUORFDOUXOHV
      -$0      1/       5HYLHZGRFXPHQWVDQGZULWWHQUHVSRQVHVWR                                
                                  GLVFRYHU\VHUYHGE\DOOGHIHQGDQWV  HPDLOWR
                                  GHIHQVHFRXQVHOUHGHILFLHQFLHVLQZULWWHQUHVSRQVHV 
                                  WRGLVFRYHU\  HPDLOWR-6HHU\76XUJHQW'
                                  .ORV-3RPHUDQW]*'HPR+:LQRJUDGUH
                                  GHIHQGDQWV GHILFLHQFLHVLQGLVFRYHU\  WHOF-
                                  6HHU\UHGLVFRYHU\LQWKHQRWHVOLWLJDWLRQ  
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVOLWLJDWLRQ                                 
                                  GLVFRYHU\
      -$0      1/       7HOFZ*'HPR:LOPHUUH:DWHUKRXVHDVD                            
                                  ZLWQHVVDQGUHJXODWRU\LVVXHV  HPDLOWR 
                                  GHIHQVHFRXQVHOUHGLVFRYHU\LVVXHVDQGGHSRVLWLRQV
                                    HPDLOWR''DQGHQHDX-3RPHUDQW]*
                                  'HPRUH:DWHUKRXVHGHSRVLWLRQ 
      *9'      1/       &RQIHUHQFHZLWK:LOPHU+DOHDQG-0RUULVUH                                   
                                  GLVFRYHU\LVVXHVLQQRWHVOLWLJDWLRQ
      +5:      1/       &RPPXQLFDWHZLWK5REHUW+DOIIRUSURGXFWLRQUH                               
                                  FRQVROLGDWHGQRWHVSURGXFWLRQ  

                                                                                                               



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                            EXHIBIT 180




                                                                    Appx. 02915
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                                      3DFKXOVNL 6WDQJ =LHKO        -RQHV //3
                                               6DQWD 0RQLFD %OYG
                                                     WK )ORRU
                                               /RV $QJHOHV &$ 
                                                                            1RYHPEHU  
     %RDUG RI 'LUHFWRUV                                                     ,QYRLFH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                         &OLHQW  
      &UHVFHQW &RXUW VWH                                             0DWWHU  
     'DOODV 7; 
                                                                                    -13

     5( 3RVW(IIHFWLYH 'DWH



               67$7(0(17 2) 352)(66,21$/ 6(59,&(6 5(1'(5(' 7+528*+ 




HIGHLY CONFIDENTIAL                                                                                   D-CNL003837
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HIGHLY CONFIDENTIAL                                                          D-CNL003838
                                                                       Appx. 02917
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
      %LOO

         &+0     1/      5HYLHZ GRFXPHQWV DQG UXQ SURGXFWLRQ RI                                       
                                   FRQVROLGDWHG QRWHV OLWLJDWLRQ VHDUFK UHVXOWV HPDLO +
                                   :LQRJUDG UH VDPH
     -$0                       1/                                                             
      %LOO

         -$0     1/      5HYLHZ GLVFRYHU\ UHVSRQVHV DQG SOHDGLQJV DQG                                
                                   SUHSDUH 5XOH  E  GHSRVLWLRQ QRWLFHV IRU +&5(
                                   +&06 DQG 1H[SRLQW   FRPPXQLFDWLRQV Z -
                                   6HHU\ 7 6XUJHQW ' .ORV - 3RPHUDQW] * 'HPR
                                   + :LQRJUDG UH GHSRVLWLRQ QRWLFHV  
     +5:                       1/                                                                
      %LOO

         +5:     1/      &RPPXQLFDWH ZLWK 5REHUW +DOI IRU SURGXFWLRQ UH                                  
                                   FRQVROLGDWHG QRWHV SURGXFWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      2YHUVHH DQG UHYLHZ SURGXFWLRQ UH UH FRQVROLGDWHG                               
                                   QRWHV SURGXFWLRQ  
     -$0                       1/                                                             
      %LOO

         -$0     1/      7HO F Z * 'HPR UH GLVFRYHU\ VWUDWHJ\   GUDIW                       
                                   GHSRVLWLRQ QRWLFHV IRU - 'RQGHUR 1 'RQGHUR )
                                   :DWHUKRXVH 'XJDER\ DQG +&0)$   HPDLOV
                                   Z - 3RPHUDQW] * 'HPR + :LQRJUDG =
                                   $QQDEOH UH GHSRVLWLRQ QRWLFHV  
     *9'                       1/                                                                
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV DERXW QRWHV OLWLJDWLRQ                                 
                                   GLVFRYHU\ LVVXHV
     *9'                       1/                                                                
      %LOO

         *9'     1/      5HYLHZ GHSRVLWLRQ QRWLFHV                                                        
     -$0                       1/                                                             
      %LOO

         -$0     1/      3UHSDUH GHSRVLWLRQ QRWLFHV IRU +&5( +&06                                  




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003839
                                                                                                                  Appx. 02918
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                       3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                        3UHELOO
                                                                                                1RYHPEHU  


                                                                                                  +RXUV           5DWH         $PRXQW
                                   1H[3RLQW DQG VXESRHQD IRU '& 6DXWHU DQG UHYLVH
                                   GHSRVLWLRQ QRWLFHV IRU ) :DWHUKRXVH DQG +&0)$
                                      HPDLOV Z - 6HHU\ 7 6XUJHQW ' .ORV -
                                   3RPHUDQW] * 'HPR + :LQRJUDG UH GHSRVLWLRQ
                                   QRWLFHV   WHO F Z - 6HHU\ * 'HPR UH
                                   GHSRVLWLRQ QRWLFHV  
     *9'                       1/                                                                 
      %LOO

         *9'     1/      5HYLHZ GLVFRYHU\ UHTXHVWV DQG FRUUHVSRQGHQFH UH                                   
                                   VDPH
     +5:                       1/                                                                 
      %LOO

         +5:     1/      5HYLHZ DQG HGLW GHSRVLWLRQ QRWLFHV IRU QRWHV                                      
                                   OLWLJDWLRQ  
     -$0                       1/                                                              
      %LOO

         -$0     1/      5HYLHZUHYLVHILQDOL]H GHSRVLWLRQ QRWLFHV                                   
                                   VXESRHQDV DQG QRWLFHV RI VXESRHQDV   HPDLO WR
                                   GHIHQVH FRXQVHO - 3RPHUDQW] * 'HPR +
                                   :LQRJUDG = $QQDEOH UH GHSRVLWLRQ QRWLFHV
                                   VXESRHQDV QRWLFHV RI VXESRHQD DQG UHODWHG PDWWHUV
                                      HPDLO WR = $QQDEOH - 3RPHUDQW] * 'HPR
                                   + :LQRJUDG UH VHUYLFH RI WKH GHSRVLWLRQ QRWLFHV
                                   DQG VXESRHQDV   WHO F Z - 6HHU\ UH VWDWXV
                                   GLVFRYHU\  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      5HYLHZ SURGXFWLRQ UH FRQVROLGDWHG QRWHV SURGXFWLRQ                               
                                     
     +5:                       1/                                                                 
      %LOO

         +5:     1/      &RPPXQLFDWH ZLWK 5REHUW +DOI UH SURGXFWLRQ IRU                                   
                                   (PSOR\HH &ODLPV  
     -$0                       1/                                                              
      %LOO

         -$0     1/      7HO F Z + :LQRJUDG UH GLVFRYHU\ $LJHQ HPDLO                            
                                      WHO F Z ' 5XNDYLQD UH GLVFRYHU\   WHO F
                                   Z - 6HHU\ UH GLVFRYHU\ VWDWXV   HPDLOV Z '
                                   5XNDYLQD ' 'HLWVFK3HUH] UH GLVFRYHU\




HIGHLY CONFIDENTIAL                                                                                                      D-CNL003840
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
                                   GHSRVLWLRQV  
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK 4XLQQ UH QRWHV OLWLJDWLRQ                                   
     +5:                       1/                                                               
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV UH GLVFRYHU\ LVVXHV LQ QRWHV                               
                                   OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ GLVFRYHU\ LVVXHV LQ QRWHV OLWLJDWLRQ                                 
     -$0                       1/                                                            
      %LOO

         -$0     1/      (PDLO WR ' 'HLW]3HUH] ' 5XNDYLQD UH GLVFRYHU\                        
                                      HPDLO WR ' 'DQGHQHDX UH :DWHUKRXVH
                                   GHSRVLWLRQ   HPDLO WR 0 $LJHQ UH GLVFRYHU\
                                   LVVXHV   HPDLO WR GHIHQVH FRXQVHO UH UHVSRQVH
                                   WR YDULRXV GLVFRYHU\ LVVXHV  
     /6&                       1/                                                               
      %LOO

         /6&     1/      5HVHDUFK FRUUHVSRQGHQFH DQG UHYLHZ RI GLVFRYHU\                              
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK OLWLJDWLRQ WUXVWHH UH RXWVWDQGLQJ                           
                                   QRWHV
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ UHVSRQVHV DQG SURGXFWLRQ UH GLVFRYHU\                                   
                                   UHTXHVWV LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HVSRQG WR - 0RUULV HPDLO UH GLVFRYHU\ LVVXHV LQ                              
                                   QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003841
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      5HYLHZ HPDLOV UHJDUGLQJ  E  GHSRVLWLRQ LVVXHV                                 
                                   DQG VFKHGXOLQJ  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      6HQG RSSRVLQJ FRXQVHO VXSSOHPHQWDO QRWHV OLWLJDWLRQ                               
                                   SURGXFWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      3UHSDUH VXSSOHPHQWDO SURGXFWLRQ IRU QRWHV OLWLJDWLRQ                             
                                     
     -$0                       1/                                                              
      %LOO

         -$0     1/      5HYLHZUHYLVH HPDLO WR GHIHQVH FRXQVHO UH                                     
                                   GLVFRYHU\  
     /6&                       1/                                                               
      %LOO

         /6&     1/      5HVHDUFK FRUUHVSRQGHQFH DQG UHYLHZ RI GLVFRYHU\                           
     *9'                       1/                                                                
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK 4XLQQ UH QRWHV FROOHFWLRQ                                    
                                   LVVXHV
     +5:                       1/                                                                 
      %LOO

         +5:     1/      (PDLO - 0RUULV UH GLVFRYHU\ LVVXHV LQ QRWHV                                     
                                   OLWLJDWLRQ  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      (PDLO '6, UH UH GLVFRYHU\ LVVXHV LQ QRWHV OLWLJDWLRQ                            
                                     
     -$0                       1/                                                             
      %LOO

         -$0     1/      $QDO\]H 1H[3RLQW¶V 5XOH  E  GHSRVLWLRQ QRWLFH                            
                                   DQG HPDLO WR - 6HHU\ 7 6XUJHQW - 3RPHUDQW] *




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003842
                                                                                                                  Appx. 02921
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
                                   'HPR + :LQRJUDG UH VDPH   HPDLOV WR -
                                   6HHU\ 7 6XUJHQW ' 5XNDYLQD + :LQRJUDG UH
                                   REMHFWLRQV WR 1H[3RLQW¶V 5XOH  E  GHSRVLWLRQ
                                   QRWLFH   UHYLVH GHSRVLWLRQ QRWLFHV IRU -
                                   'RQGHUR +&5( +&06 DQG 1H[3RLQW  
                                   HPDLOV Z = $QQDEOH + :LQRJUDG UH UHYLVHG
                                   GHSRVLWLRQ QRWLFHV IRU - 'RQGHUR +&5( +&06
                                   DQG 1H[3RLQW   HPDLOV Z ' .ORV 7 6XUJHQW
                                   + :LQRJUDG UH GRFXPHQWV DQG LQIRUPDWLRQ
                                   FRQFHUQLQJ - 'RQGHUR FRPSHQVDWLRQ ORDQ KLVWRU\
                                      UHYLHZ GHIHQGDQWV¶ GRFXPHQW SURGXFWLRQ
                                     
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ  E  QRWLFHV IRU FRQVROLGDWHG QRWHV                                     
                                   OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ '6, HPDLO DQG SURGXFWLRQ UH 'RQGHUR                                     
                                   FRPSHQVDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ SURGXFWLRQ IURP GHIHQGDQWV LQ FRQVROLGDWHG                               
                                   QRWHV OLWLJDWLRQ  
     -$0                       1/                                                            
      %LOO

         -$0     1/      (PDLOV WR 76* UH GHSRVLWLRQV   HPDLO WR +                          
                                   :LQRJUDG UH DGGLWLRQDO GRFXPHQW SURGXFWLRQ  
                                   HPDLOV Z ' .ORV 7 6XUJHQW + :LQRJUDG UH
                                   'RQGHUR ORDQV DQG SD\PHQW KLVWRU\   HPDLOV Z
                                   - 6HHU\ ' .ORV UH FRVWYDOXH RI SRUWIROLR
                                   FRPSDQLHV   EHJLQ 1DQF\ 'RQGHUR GHSRVLWLRQ
                                   RXWOLQH   WHO F Z - 6HHU\ UH QRWHV OLWLJDWLRQ
                                      UHYLHZ GRFXPHQWVWUDQVFULSWV  
     -$0                       1/                                                            
      %LOO

         -$0     1/      $QDO\]H 5XOH  E  1RWLFH RI 'RQGHUR +&5(                                
                                   DQG +&06 DQG SUHSDUH GUDIW REMHFWLRQV   WHO F
                                   Z - 6HHU\ UH OLWLJDWLRQ PDWWHUV  
     -$0                       1/                                                             




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003843
                                                                                                                 Appx. 02922
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         -$0     1/      (PDLOV Z ' 5XNDYLQD ' 'HLW]3HUH] UH                                    
                                   GHSRVLWLRQV   HPDLOV Z ' .ORV 7 &RQRX\HU
                                   UH :DWHUKRXVH UROHV   HPDLOV Z + :LQRJUDG
                                   / &DQW\ UH VXSSOHPHQWDO GRFXPHQW SURGXFWLRQ
                                     
     /6&                       1/                                                              
      %LOO

         /6&     1/      5HWULHYH DQG UHYLHZ 'RQGHUR V VXSSOHPHQWDO                                     
                                   SURGXFWLRQ
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP FRXQVHO UH GHSRVLWLRQ VFKHGXOH                               
                                   LQ FRQVROLGDWHG QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO SURGXFWLRQ LQ FRQVROLGDWHG                                 
                                   QRWHV OLWLJDWLRQ  
     -$0                       1/                                                           
      %LOO

         -$0     1/      (PDLOV Z GHIHQVH FRXQVHO UH GLVFRYHU\                              
                                   HPDLOV Z ' .ORV / &DQW\ + :LQRJUDG UH
                                   VXSSOHPHQWDO GRFXPHQW SURGXFWLRQ   SUHSDUH IRU
                                   GHSRVLWLRQV   HPDLOV Z GHIHQVH FRXQVHO UH
                                   GHSRVLWLRQV   WHO F Z - 6HHU\ ' .ORV UH
                                   REOLJRUV¶ SD\PHQWV RQ 1RWHV  
     /6&                       1/                                                             
      %LOO

         /6&     1/      3UHSDUDWLRQ RI VXSSOHPHQWDO SURGXFWLRQV                                  
                                   LQFOXGLQJ UHGDFWLRQV WR VDPH DQG FRUUHVSRQGHQFH
                                   UHJDUGLQJ WKH VDPH
     /6&                       1/                                                              
      %LOO

         /6&     1/      &RRUGLQDWH DQG DVVLVW ZLWK UHWULHYDO DQG SUHSDUDWLRQ                           
                                   RI GRFXPHQWV ZLWK UHVSHFW WR QRWHV OLWLJDWLRQ IRU -
                                   0RUULV
     +5:                       1/                                                             




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003844
                                                                                                                Appx. 02923
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO SURGXFWLRQ IRU FRQVROLGDWHG                            
                                   QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      6HQG FRXQVHO VXSSOHPHQWDO SURGXFWLRQ IRU                                       
                                   FRQVROLGDWHG QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      &DOO ZLWK '6, UH EDFNXS GRFXPHQWDWLRQ IRU                                     
                                   GHPRQVWUDWLYH FKDUW VKRZLQJ 7UXVVZD\ 0*0
                                   &RUQHUVWRQH YDOXDWLRQV LQ FRQVROLGDWHG QRWHV
                                   OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      (PDLO - 0RUULV * 'HPR - 3RPHUDQW] DQG FOLHQW                             
                                   UH EDFNXS GRFXPHQWDWLRQ IRU GHPRQVWUDWLYH FKDUW
                                   VKRZLQJ 7UXVVZD\ 0*0 &RUQHUVWRQH YDOXDWLRQV
                                   LQ FRQVROLGDWHG QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      (PDLO - 0RUULV UH VXSSOHPHQWDO SURGXFWLRQV IRU                               
                                   FRQVROLGDWHG QRWHV OLWLJDWLRQV  
     -$0                       1/                                                           
      %LOO

         -$0     1/      3UHSDUH IRU PHHWLQJ ZLWK - 6HHU\ FRQFHUQLQJ                              
                                   GHSRVLWLRQV LQFOXGLQJ DQDO\VLV RI LVVXHV FRQFHUQLQJ
                                   1H[3RLQW   HPDLOV WR - 6HHU\ 7 6XUJHQW '
                                   .ORV UH GHSRVLWLRQ SUHSDUDWLRQ   WHO F Z -
                                   6HHU\ ' .ORV 7 6XUJHQW * 'HPR + :LQRJUDG
                                   UH SUHSDUDWLRQ IRU GHSRVLWLRQV   OHWWHUV WR
                                   GHIHQVH FRXQVHO UH GRFXPHQWV   SUHSDUH IRU
                                   GHSRVLWLRQV  
     *9'                       1/                                                             
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 6HHU\ ' .ORV DQG 36=- UH                              
                                   SUHSDUDWLRQ IRU GHSRVLWLRQV




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003845
                                                                                                                Appx. 02924
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                   3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                    3UHELOO
                                                                                            1RYHPEHU  


                                                                                              +RXUV           5DWH         $PRXQW
     *9'                       1/                                                             
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH VWDWXV RI QRWHV                                  
                                   OLWLJDWLRQ DQG QH[W VWHSV
     *9'                       1/                                                              
      %LOO

         *9'     1/      5HYLHZ WUDQVFULSWV UH QRWHV OLWLJDWLRQ LVVXHV                                  
     +5:                       1/                                                            
      %LOO

         +5:     1/      5HYLHZ GHIHQGDQWV¶ 5 2V WR +LJKODQG¶V GLVFRYHU\                           
                                   UHTXHVWV LQ QRWHV OLWLJDWLRQV  
     +5:                       1/                                                             
      %LOO

         +5:     1/      (PDLO - 0RUULV UH GHIHQGDQWV¶ 5 2V WR +LJKODQG¶V                            
                                   GLVFRYHU\ UHTXHVWV LQ QRWHV OLWLJDWLRQV  
     +5:                       1/                                                             
      %LOO

         +5:     1/      &DOO ZLWK - 6HHU\ DQG ' .ORV UH GHSRVLWLRQ SUHS                            
                                   IRU QRWHV OLWLJDWLRQ  
     +5:                       1/                                                             
      %LOO

         +5:     1/      3UHSDUH IRU FDOO ZLWK - 6HHU\ DQG ' .ORV UH                                
                                   GHSRVLWLRQ SUHS IRU QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      (PDLO - 0RUULV UH VXSSOHPHQWDO SURGXFWLRQ LQ QRWHV                           
                                   OLWLJDWLRQ  
     +5:                       1/                                                             
      %LOO

         +5:     1/      6HQG RSSRVLQJ FRXQVHO VXSSOHPHQWDO SURGXFWLRQ LQ                              
                                   QRWHV OLWLJDWLRQ  




HIGHLY CONFIDENTIAL                                                                                                  D-CNL003846
                                                                                                               Appx. 02925
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                        3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                         3UHELOO
                                                                                                 1RYHPEHU  


                                                                                                   +RXUV           5DWH         $PRXQW
     /6&                       1/                                                                 
      %LOO

         /6&     1/      $VVLVW ZLWK UHVHDUFK UHWULHYDO DQG UHYLHZ RI                                 
                                   GLVFRYHU\ GRFXPHQWV LQ FRQQHFWLRQ ZLWK XSFRPLQJ
                                   GHSRVLWLRQV
     /6&                       1/                                                                  
      %LOO

         /6&     1/      5HVHDUFK DQG FRUUHVSRQGHQFH UHJDUGLQJ FHUWDLQ                                      
                                   PDQDJHPHQW GRFXPHQWV IRU - 0RUULV
     -13                       1/                                                                
      %LOO

         -13     1/      &RQIHUHQFH ZLWK -RKQ $ 0RUULV UHJDUGLQJ                                          
                                   XSFRPLQJ GHSRVLWLRQV DQG LVVXHV UHODWLQJ WR QRWHV
                                   OLWLJDWLRQ LQFOXGLQJ KHDULQJ FRYHUDJH
     -13                       1/                                                                
      %LOO

         -13     1/      5HYLHZ HPDLOV UHJDUGLQJ QRWHV GHSRVLWLRQV DQG                                     
                                   GLVFRYHU\
     -$0                       1/                                                               
      %LOO

         -$0     1/      7HO F Z - 6HHU\ ' .ORV * 'HPR + :LQRJUDG                             
                                   UH SUHSDUDWLRQ IRU GHSRVLWLRQV   WHO F Z +
                                   :LQRJUDG / &DQW\ UH GHSRVLWLRQV H[KLELWV DQG
                                   UHODWHG PDWWHUV   SUHSDUH IRU GHSRVLWLRQV  
                                   HPDLOV WR / &DQW\ + :LQRJUDG UH GHSRVLWLRQ
                                   H[KLELWV   WHO F Z * 'HPR UH GHSRVLWLRQV
                                      WHO F Z - 3RPHUDQW] UH QRWHV OLWLJDWLRQ  
                                   HPDLO WR - 6HHU\ ' .ORV UH SULRU FRXUW ILOLQJV
                                      HPDLO WR - 6HHU\ ' .ORV + :LQRJUDG UH
                                   /3 $JUHHPHQW   HPDLO WR - 6HHU\ ' .ORV +
                                   :LQRJUDG UH PDQDJHPHQW UHSUHVHQWDWLRQ OHWWHUV
                                     
     /6&                       1/                                                                 
      %LOO

         /6&     1/      5HVHDUFK UHWULHYH DQG UHYLHZ GRFXPHQWV LQ                                    
                                   FRQQHFWLRQ ZLWK 1RWHV /LWLJDWLRQ DQG
                                   FRUUHVSRQGHQFH UHJDUGLQJ WKH VDPH   UHVHDUFK
                                   DQG FRUUHVSRQGHQFH UHJDUGLQJ SULRU SURGXFWLRQV  
     *9'                       1/                                                                 




HIGHLY CONFIDENTIAL                                                                                                       D-CNL003847
                                                                                                                    Appx. 02926
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
      %LOO

         *9'     1/      $WWHQG FRQIHUHQFH UH SUHSDUDWLRQ IRU QRWHV OLWLJDWLRQ                       
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ SURGXFWLRQV IURP +LJKODQG WR GHIHQGDQWV LQ                           
                                   QRWHV OLWLJDWLRQV  
     +5:                       1/                                                               
      %LOO

         +5:     1/      &RPPXQLFDWH ZLWK / &DQW\ UH SURGXFWLRQV IURP                                  
                                   +LJKODQG WR GHIHQGDQWV LQ QRWHV OLWLJDWLRQV  
     +5:                       1/                                                              
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV * 'HPR - 6HHU\ ' .ORV UH                         
                                   GHSRVLWLRQ SUHS IRU QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV DQG / &DQW\ UH GHSRVLWLRQ SUHS                            
                                   IRU QRWHV OLWLJDWLRQ  
     -$0                       1/                                                            
      %LOO

         -$0     1/      3UHSDUH IRU GHSRVLWLRQV   HPDLO WR +&0/3                             
                                   36=- UH 'HSRVLWLRQ 2XWOLQH IRU 1DQF\ 'RQGHUR
                                      HPDLO WR / &DQW\ + :LQRJUDG UH GHSRVLWLRQ
                                   H[KLELWV   WHO F Z + :LQRJUDG UH GRFXPHQW
                                   SURGXFWLRQ  
     /6&                       1/                                                              
      %LOO

         /6&     1/      3UHSDUDWLRQ RI H[KLELWV LQ FRQQHFWLRQ ZLWK XSFRPLQJ                         
                                   GHSRVLWLRQV DQG UHVHDUFK GLVFRYHU\ GRFXPHQWV
                                   UHJDUGLQJ WKH VDPH   SUHSDUDWLRQ RI PDWHULDOV LQ
                                   FRQQHFWLRQ ZLWK KHDULQJ RQ PRWLRQV WR GLVPLVV
                                   LQFOXGLQJ OHJDO UHVHDUFK UHJDUGLQJ WKH VDPH 
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO +&0)$ SURGXFWLRQ IRU QRWHV                              
                                   OLWLJDWLRQ  




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003848
                                                                                                                 Appx. 02927
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
     +5:                       1/                                                               
      %LOO

         +5:     1/      &RPPXQLFDWH ZLWK / &DQW\ UH VXSSOHPHQWDO                                     
                                   +&0)$ SURGXFWLRQ IRU QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      (PDLO ZLWK & 0DFNOH UH VXSSOHPHQWDO +&0)$                                    
                                   SURGXFWLRQ IRU QRWHV OLWLJDWLRQ  
     -13                       1/                                                             
      %LOO

         -13     1/      5HYLHZ HPDLOV UHJDUGLQJ GHSRVLWLRQV                                          
     -$0                       1/                                                         
      %LOO

         -$0     1/      3UHSDUH IRU GHSRVLWLRQV   PXOWLSOH FDOOV ZLWK -                     
                                   6HHU\ UH GHSRVLWLRQV IDFWV DQG VWUDWHJ\ IRU 1RWHV
                                   /LWLJDWLRQ   HPDLOV Z + :LQRJUDG / &DQW\
                                   UH H[KLELWV   HPDLOV Z GHIHQVH FRXQVHO FRXUW
                                   UHSRUWHU UH GHSRVLWLRQV  
     /6&                       1/                                                               
      %LOO

         /6&     1/      3UHSDUDWLRQ RI H[KLELWV LQ FRQQHFWLRQ ZLWK XSFRPLQJ                            
                                   GHSRVLWLRQV DQG UHVHDUFK GLVFRYHU\ GRFXPHQWV
                                   UHJDUGLQJ WKH VDPH
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO +&0)$ SURGXFWLRQ IRU QRWHV                              
                                   OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ HPDLOV IURP - 0RUULV DQG '6, UH KRW                                   
                                   GRFXPHQWV IRU GHSRVLWLRQV LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      6HQG HPDLO WR - 0RUULV UH GRFXPHQW SURGXFWLRQV                               
                                   IURP +LJKODQG WR GHIHQGDQWV LQ QRWHV OLWLJDWLRQV




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003849
                                                                                                                Appx. 02928
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
                                        
     -13                             1/                                                        
      %LOO

         -13     1/      5HYLHZ PRWLRQ WR GLVPLVV DQG RSSRVLWLRQ UHJDUGLQJ                            
                                   QRWHV OLWLJDWLRQ
     -13                             1/                                                        
      %LOO

         -13     1/      &RQIHUHQFH ZLWK -RKQ $ 0RUULV DQG WKHQ - 6HHU\                             
                                   UHJDUGLQJ 1DQF\ 'RQGHUR GHSRVLWLRQ
     -$0                             1/                                                     
      %LOO

         -$0     1/      3UHSDUH IRU GHSRVLWLRQV   WHO F Z * 'HPR UH                        
                                   GHSRVLWLRQV   1DQF\ 'RQGHUR GHSRVLWLRQ  
                                   WHO F Z - 6HHU\ SDUWLDO  - 3RPHUDQW] UH 1DQF\
                                   'RQGHUR GHSRVLWLRQ   WHO F Z ' 1HZPDQ UH
                                   1DQF\ 'RQGHUR GHSRVLWLRQ  
     /6&                             1/                                                          
      %LOO

         /6&     1/      3UHSDUH IRU DQG DVVLVW DW GHSRVLWLRQ RI 6XVDQ                                 
                                   'RQGHUR
     *9'                             1/                                                            
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK / &DQW\ UH GHSRVLWLRQ LVVXHV                                 
     *9'                             1/                                                           
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH QRWHV OLWLJDWLRQ VWUDWHJ\                           
     *9'                             1/                                                          
      %LOO

         *9'     1/      $WWHQG GHSRVLWLRQ RI 1 'RQGHUR SDUWLDO                                       
     *9'                             1/                                                           
      %LOO

         *9'     1/      5HYLHZ :LOPHU+DOH DQDO\VLV RI ,QYHVWPHQW                                         
                                   &RPSDQ\ $FW LVVXHV
     +5:                             1/                                                          




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003850
                                                                                                                  Appx. 02929
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO +&0)$ SURGXFWLRQ IRU QRWHV                              
                                   OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      'HSRVLWLRQ RI 1DQF\ 'RQGHUR IRU QRWHV OLWLJDWLRQ                            
                                    
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ :DWHUKRXVH GHSRVLWLRQ RXWOLQH                                       
     -13                       1/                                                            
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU KHDULQJ RQ PRWLRQ WR                               
                                   GLVPLVV
     -13                       1/                                                             
      %LOO

         -13     1/      5HYLHZ DQG UHVSRQG WR HPDLO UHJDUGLQJ XVH RI                                  
                                   'RQGHUR SODQ SURSRVDO LQ FRXUVH RI OLWLJDWLRQ
     -$0                       1/                                                         
      %LOO

         -$0     1/      3UHSDUH IRU :DWHUKRXVH GHSRVLWLRQ                                    
                                   :DWHUKRXVH GHSRVLWLRQ LQFOXGLQJ PXOWLSOH FDOOV ZLWK
                                   * 'HPR DQGRU + :LQRJUDG   WHO F Z -
                                   6HHU\ UH :DWHUKRXVH GHSRVLWLRQ   WHO F Z *
                                   'HPR + :LQRJUDG UH :DWHUKRXVH GHSRVLWLRQ
                                      WHO F Z - 6HHU\ UH VWDWXV VWUDWHJ\  
     /6&                       1/                                                            
      %LOO

         /6&     1/      3UHSDUH IRU DQG DVVLVW DW GHSRVLWLRQ RI )UDQN                              
                                   :DWHUKRXVH
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 6HHU\ UH LVVXHV UH 'RQGHUR                                  
                                   GHSRVLWLRQ
     *9'                       1/                                                              




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003851
                                                                                                                Appx. 02930
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                 3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                  3UHELOO
                                                                                          1RYHPEHU  


                                                                                            +RXUV           5DWH         $PRXQW
      %LOO

         *9'     1/      5HYLHZ LVVXHV UH DSSOLFDWLRQ RI PHGLDWLRQ SULYLOHJH                     
     *9'                       1/                                                           
      %LOO

         *9'     1/      0XOWLSOH FRQIHUHQFHV ZLWK + :LQRJUDG DQG -                                
                                   0RUULV UH VWDWXV RI :DWHUKRXVH GHSRVLWLRQ
     *9'                       1/                                                          
      %LOO

         *9'     1/      $WWHQG :DWHUKRXVH GHSRVLWLRQ SDUWLDO                                    
     +5:                       1/                                                          
      %LOO

         +5:     1/      'HSRVLWLRQ RI )UDQN :DWHUKRXVH IRU QRWHV OLWLJDWLRQ                     
                                    
     +5:                       1/                                                          
      %LOO

         +5:     1/      5HYLHZ :DWHUKRXVH GHSRVLWLRQ RXWOLQH                                
     +5:                       1/                                                          
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO +&0)$ SURGXFWLRQ IRU QRWHV                          
                                   OLWLJDWLRQ  
     +5:                       1/                                                           
      %LOO

         +5:     1/      &DOOV ZLWK * 'HPR DQG - 0RUULV UH :DWHUKRXVH                             
                                   GHSRVLWLRQ  
     +5:                       1/                                                            
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV UH :DWHUKRXVH GHSRVLWLRQ                            
     +5:                       1/                                                           
      %LOO

         +5:     1/      (PDLO ZLWK * 'HPR DQG - (ONLQ UH PHGLDWLRQ                               
                                   SULYLOHJH  




HIGHLY CONFIDENTIAL                                                                                                D-CNL003852
                                                                                                             Appx. 02931
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HVHDUFK LVVXH RI )5(  DQG XVH RI GRFXPHQWV                                   
                                   IURP PHGLDWLRQ  
     -$0                       1/                                                             
      %LOO

         -$0     1/      3UHSDUH IRU 'RQGHUR GHSRVLWLRQ   HPDLOV Z /                          
                                   &DQW\ UH H[KLELWV IRU 'RQGHUR GHSRVLWLRQ  
                                   'RQGHUR GHSRVLWLRQ FDQFHOOHG   WHO F Z -
                                   6HHU\ UH QRWHV OLWLJDWLRQ   HPDLOV Z FRXUW
                                   UHSRUWHU UH 6HHU\ GHSRVLWLRQ   HPDLOV Z '
                                   5XNDYLQD + :LQRJUDG UH GLVFRYHU\   WHO F Z
                                   - 6HHU\ UH QRWHV OLWLJDWLRQ   WHO F Z * 'HPR
                                   UH QRWHV OLWLJDWLRQ   WHO F Z ' .ORV .
                                   +HQGUL[ UH GHSRVLWLRQV LQ QRWHV OLWLJDWLRQ   WHO
                                   F Z - 6HHU\ UH QRWHV OLWLJDWLRQ   WHO F Z %
                                   6KDUS UH IRUHQVLF DQDO\VLV RI QRWHV  
     /6&                       1/                                                                
      %LOO

         /6&     1/      3UHSDUH IRU DQWLFLSDWHG 'RQGHUR DQG UHODWHG HQWLWLHV                             
                                   GHSRVLWLRQ XOWLPDWHO\ FDQFHOHG 
     *9'                       1/                                                                 
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK - 3RPHUDQW] UH PHGLDWLRQ                                     
                                   LVVXHV
     *9'                       1/                                                                 
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK + :LQRJUDG UH +&0)$ QRWHV                                    
                                   OLWLJDWLRQ
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ +&0)$ GLVFRYHU\ LQ QRWHV OLWLJDWLRQ                                   
     +5:                       1/                                                                 
      %LOO

         +5:     1/      (PDLO * 'HPR UH +&0)$ DGYHUVDU\ SURFHHGLQJ                                      
                                     
     +5:                       1/                                                                 




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003853
                                                                                                                  Appx. 02932
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      (PDLO - 0RUULV UH +&0)$ VXSSOHPHQWDO GLVFRYHU\                                  
                                   LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                  
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP - 0RUULV UH GRFXPHQW UHTXHVWV                                 
                                   WR +&0)$ LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                  
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP +&0)$ FRXQVHO UH +LJKODQG¶V                                    
                                   GRFXPHQW UHTXHVWV WR +&0)$ LQ QRWHV OLWLJDWLRQ
                                     
     -13                       1/                                                               
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU PRWLRQ WR GLVPLVV KHDULQJ                              
     -$0                       1/                                                             
      %LOO

         -$0     1/      (PDLO WR - 9DXJKQ - 6HHU\ % 6KDUS UH PHWDGDWD                        
                                   IRU SURPLVVRU\ QRWHV   PHHW Z - 6HHU\ WR
                                   SUHSDUH IRU GHSRVLWLRQ   UHYLHZ DXGLWHG
                                   ILQDQFLDOV FRQFHUQLQJ ³SUDFWLFH RI IRUJLYDEOH
                                   ORDQV´   WHO F Z - 6HHU\ ' .ORV UH ³SUDFWLFH
                                   RI IRUJLYDEOH ORDQV´   SUHSDUH IRU - 6HHU\
                                   GHSRVLWLRQ   6HHU\ GHSRVLWLRQ   WHO F Z -
                                   3RPHUDQW] UH 6HHU\ GHSRVLWLRQ  
     *9'                       1/                                                                
      %LOO

         *9'     1/      $WWHQG - 6HHU\ GHSRVLWLRQ SDUWLDO                                            
     +5:                       1/                                                                
      %LOO

         +5:     1/      'HSRVLWLRQ RI -LP 6HHU\ IRU QRWHV OLWLJDWLRQ                              
     +5:                       1/                                                                  
      %LOO

         +5:     1/      (PDLO - 3RPHUDQW] UH QRWHV OLWLJDWLRQ 07'                                   
     +5:                       1/                                                                 




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003854
                                                                                                                  Appx. 02933
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                           3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                            3UHELOO
                                                                                                    1RYHPEHU  


                                                                                                      +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      5HYLHZ QRWHV OLWLJDWLRQ 07'                                                       
     +5:                        1/                                                                     
      %LOO

         +5:     1/      5HYLHZ - 0RUULV HPDLO UH OHJDO UHVHDUFK IRU 06-                                      
                                   DQG QRWHV OLWLJDWLRQ  
     -$0                        1/                                                                 
      %LOO

         -$0     1/      (PDLO WR ' 'DQGHQHDX UH :DWHUKRXVH WUDQVFULSW                                 
                                      HPDLOV Z ' .ORV UH SURRI RI SD\PHQW RQ
                                   ORDQV   WHO F Z - 6HHU\ UH 6HHU\ GHSRVLWLRQ
                                      HPDLOV Z - 9DXJKQ 7 6XUJHQW * 'HPR
                                   + :LQRJUDG UH PHWDGDWD IRU WKH QRWHV   WHO F
                                   Z - 9DXJKQ 7 6XUJHQW UH PHWDGDWD IRU WKH QRWHV
                                      SUHSDUH IRU GHSRVLWLRQV   HPDLO WR /
                                   &DQW\ UH SURRI RI SD\PHQW GRFXPHQW SURGXFWLRQ
                                      WHO F Z - 6HHU\ UH QRWHV OLWLJDWLRQ   WHO F
                                   Z - 6HHU\ UH QRWHV OLWLJDWLRQ  
     *9'                        1/                                                                    
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV DQG - 3RPHUDQW] UH RSHQ                                    
                                   LVVXHV LQ QRWHV OLWLJDWLRQ
     -$0                        1/                                                                 
      %LOO

         -$0     1/      (PDLO WR GHIHQVH FRXQVHO UH GLVFRYHU\   HPDLO                             
                                   WR ' 'HLW]3HUH] UH FRVWV IRU FDQFHOOLQJ 'RQGHUR
                                   GHSRVLWLRQ   HPDLOV Z 7 6XUJHQW 3 *LHS UH
                                   GRFXPHQW SURGXFWLRQ   SUHSDUH IRU GHSRVLWLRQV
                                      WHO F Z - 6HHU\ UH IDFWV VWDWXV VWUDWHJ\ RI
                                   QRWHV OLWLJDWLRQ  
     -$0                        1/                                                                 
      %LOO

         -$0     1/      5HYLHZ GRFXPHQWV DQG SUHSDUH IRU GHSRVLWLRQV                                     
                                    LQFOXGLQJ VHQGLQJ GRFXPHQWV WR / &DQW\ +
                                   :LQRJUDG IRU SURGXFWLRQ   WHO F Z - 6HHU\ UH
                                   1RWHV /LWLJDWLRQ IDFWV DQG VWDWXV  




HIGHLY CONFIDENTIAL                                                                                                          D-CNL003855
                                                                                                                       Appx. 02934
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
     +5:                       1/                                                              
      %LOO

         +5:     1/      'UDIW VHFRQG +&0)$ QRWHV FRPSODLQW                                      
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ GRFXPHQWV IRU QRWHV SURGXFWLRQ                                       
     -13                       1/                                                            
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU RUDO DUJXPHQW RQ PRWLRQ WR                         
                                   GLVPLVV
     -13                       1/                                                             
      %LOO

         -13     1/      5HYLHZ HPDLOV UHJDUGLQJ QRWHV OLWLJDWLRQ GLVFRYHU\                            
     -$0                       1/                                                            
      %LOO

         -$0     1/      :RUN RQ 'RQGHUR GHSRVLWLRQ RXWOLQH   WHO F Z                         
                                   - 6HHU\ UH QRWHV OLWLJDWLRQ   FRPPXQLFDWLRQV Z
                                   + :LQRJUDG 3 -HIIULHV UH GRFXPHQW SURGXFWLRQ
                                      SUHS VHVVLRQ Z ' .ORV . +HQGUL[ +
                                   :LQRJUDG   HPDLO WR GHIHQVH FRXQVHO UH
                                   GRFXPHQW SURGXFWLRQ   HPDLOV Z GHIHQVH
                                   FRXQVHO UH GHSRVLWLRQ VFKHGXOH   WHO F Z +
                                   :LQRJUDG UH QRWHV OLWLJDWLRQ   UHYLHZ +&0)$
                                   GRFXPHQW SURGXFWLRQ  
     *9'                       1/                                                               
      %LOO

         *9'     1/      5HYLHZ OLPLWHG SDUWQHUVKLS DJUHHPHQW UH ILGXFLDU\                               
                                   GXW\ LVVXHV DQG FRUUHVSRQGHQFH ZLWK - 3RPHUDQW] UH
                                   VDPH
     *9'                       1/                                                               
      %LOO

         *9'     1/      5HYLHZ DQG FRPPHQW RQ QHZ QRWH DGYHUVDU\ IRU                                    
                                   +&0)$




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003856
                                                                                                                 Appx. 02935
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                   3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                    3UHELOO
                                                                                            1RYHPEHU  


                                                                                              +RXUV           5DWH         $PRXQW
     +5:                       1/                                                            
      %LOO

         +5:     1/      5HYLHZ +&0)$ VXSSOHPHQWDO GRFXPHQWV                                   
     +5:                       1/                                                            
      %LOO

         +5:     1/      5HYLHZ +&5( VXSSOHPHQWDO GRFXPHQWV                                    
     +5:                       1/                                                              
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV UH +HQGUL[ DQG .ORV GHSR SUHS                             
                                     
     +5:                       1/                                                            
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV ' .ORV . +HQGUL[ UH GHSR                         
                                   SUHS  
     +5:                       1/                                                             
      %LOO

         +5:     1/      5HYLHZ +&0)$ VXSSOHPHQWDO SURGXFWLRQ                                      
     +5:                       1/                                                             
      %LOO

         +5:     1/      5HYLHZ QRWHV OLWLJDWLRQ VXSSOHPHQWDO SURGXFWLRQ                               
                                     
     +5:                       1/                                                             
      %LOO

         +5:     1/      (GLW DQG UHYLHZ +&0)$ VHFRQG QRWHV FRPSODLQW                                  
                                     
     +5:                       1/                                                             
      %LOO

         +5:     1/      (PDLO - 0RUULV UH +&0)$ QRWHV GLVFRYHU\                                 
     +5:                       1/                                                            
      %LOO

         +5:     1/      5HVHDUFK LVVXHV IRU VXPPDU\ MXGJPHQW LQ QRWHV                             
                                   OLWLJDWLRQ  
     -13                       1/                                                           




HIGHLY CONFIDENTIAL                                                                                                  D-CNL003857
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         -13     1/      &RQIHUHQFH ZLWK -RKQ $ 0RUULV UHJDUGLQJ                                      
                                   GHSRVLWLRQV DQG VWUDWHJ\ LQ QRWHV OLWLJDWLRQ
     -13                       1/                                                            
      %LOO

         -13     1/      &RQWLQXH WR UHYLHZ FDVHV UHJDUGLQJ SUHSDUDWLRQ IRU                         
                                   KHDULQJ RQ PRWLRQ WR GLVPLVV
     -$0                       1/                                                           
      %LOO

         -$0     1/      5HYLHZ RI WUDQVFULSWV DQG EHJLQ RXWOLQLQJ                                 
                                   LVVXHVIDFWV   PHHW Z ' .ORV . +HQGUL[ WR
                                   SUHSDUH IRU GHSRVLWLRQV   WHO F Z - 3RPHUDQW]
                                   UH QRWHV OLWLJDWLRQ   SUHSDUH IRU GHSRVLWLRQV
                                   LQFOXGLQJ UHYLHZ RI H[SHUW UHSRUW   HPDLOV Z
                                   GHIHQVH FRXQVHO UH GLVFRYHU\   PHHW Z ' .ORV
                                   UH 'RQGHUR FRPSHQVDWLRQ   WHO F Z -
                                   3RPHUDQW] UH 'RQGHUR FRPSHQVDWLRQ DQG H[SHUW
                                   LVVXHV  
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV DQG ' .ORV UH                                       
                                   SUHSDUDWLRQ IRU .ORV GHSRVLWLRQ
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HVHDUFK LVVXHV IRU FRQVROLGDWLRQ RI FDVHV                              
     +5:                       1/                                                               
      %LOO

         +5:     1/      'UDIW HUUDWD IRU RSSRVLWLRQ WR 07'                                         
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ QRWHV OLWLJDWLRQ VXSSOHPHQWDO +&5(                                      
                                   SURGXFWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ - 0RUULV HPDLO WR FRXQVHO UH 'RQGHUR                                   
                                   SURGXFWLRQ LQ QRWHV OLWLJDWLRQ  




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003858
                                                                                                                Appx. 02937
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP FRXQVHO UH 'RQGHUR QRWHV                                     
                                   SURGXFWLRQ LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ 'RQGHUR UHVSRQVHV WR GLVFRYHU\ UHTXHVWV LQ                              
                                   QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO - 0RUULV UH +&5( VXSSOHPHQWDO SURGXFWLRQ                                
                                   LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO - 0RUULV DQG - 3RPHUDQW] UH HUUDWD IRU                                 
                                   RSSRVLWLRQ WR 07' LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO ORFDO FRXQVHO UH HUUDWD IRU RSSRVLWLRQ WR 07'                            
                                   LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP ORFDO FRXQVHO UH HUUDWD IRU                                  
                                   RSSRVLWLRQ WR 07' LQ QRWHV OLWLJDWLRQ  
     -13                       1/                                                            
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU KHDULQJ RQ PRWLRQ WR                               
                                   GLVPLVV
     -13                       1/                                                             
      %LOO

         -13     1/      &RQIHUHQFH ZLWK *UHJRU\ 9 'HPR -RKQ $ 0RUULV                               
                                   DQG - 6HHU\ UHJDUGLQJ .ORV DQG +HQGUL[
                                   GHSRVLWLRQV
     -$0                       1/                                                           




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003859
                                                                                                                Appx. 02938
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
      %LOO

         -$0     1/      3UHSDUH IRU GHSRVLWLRQV   HPDLOV Z GHIHQVH                          
                                   FRXQVHO UH GRFXPHQW SURGXFWLRQ   +HQGUL[ DQG
                                   .ORV GHSRVLWLRQV   WHO F Z - 6HHU\ -
                                   3RPHUDQW] * 'HPR UH GHSRVLWLRQV DQG FHUWDLQ
                                   XQUHODWHG PDWWHUV  
     *9'                       1/                                                               
      %LOO

         *9'     1/      $WWHQG . +HQGUL[ GHSRVLWLRQ SDUWLDO                                            
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ +&0)$ VXSSOHPHQWDO GRFXPHQWV IRU QRWHV                                   
                                   OLWLJDWLRQV  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO - 0RUULV UH +&0)$ DQG +&5(                                               
                                   VXSSOHPHQWDO GRFXPHQWV IRU QRWHV OLWLJDWLRQV  
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HVHDUFK UH VXPPDU\ MXGJPHQW VWDQGDUG IRU QRWHV                            
                                   OLWLJDWLRQV  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO ORFDO FRXQVHO UH HUUDWD IRU RSSRVLWLRQ EULHIV WR                          
                                   07'  
     +5:                       1/                                                               
      %LOO

         +5:     1/      'UDIW HUUDWD IRU RSSRVLWLRQ EULHIV WR 07'                                   
     +5:                       1/                                                              
      %LOO

         +5:     1/      +HQGUL[ GHSRVLWLRQ IRU QRWHV OLWLJDWLRQV                                
     +5:                       1/                                                              
      %LOO

         +5:     1/      .ORV GHSRVLWLRQ IRU QRWHV OLWLJDWLRQV                                   




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003860
                                                                                                                 Appx. 02939
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                       3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                        3UHELOO
                                                                                                1RYHPEHU  


                                                                                                  +RXUV           5DWH         $PRXQW
     -13                       1/                                                              
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU KHDULQJ RQ PRWLRQ WR                                 
                                   GLVPLVV
     -$0                       1/                                                              
      %LOO

         -$0     1/      $PHQG VL[ GHSRVLWLRQ QRWLFHV   HPDLO WR                                 
                                   FRXQVHO UH 'RQGHUR GHSRVLWLRQ   WHO F Z -
                                   6HHU\ UH QRWHV OLWLJDWLRQ   FRPPXQLFDWLRQV Z
                                   / &DQW\ 3 -HIIULHV UH 'RQGHUR GHSRVLWLRQ DQG
                                   H[KLELWV   WHO F Z + :LQRJUDG UH QRWHV
                                   OLWLJDWLRQ   SUHSDUH IRU 'RQGHUR GHSRVLWLRQ
                                      WHO F Z * 'HPR UH QRWHV OLWLJDWLRQ   WHO
                                   F Z ' 5XNDYLQD + :LQRJUDG UH ZLWQHVVHV  
     *9'                       1/                                                                 
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH SRWHQWLDO H[SHUW                                     
                                   GLVFRYHU\ LVVXHV
     *9'                       1/                                                                 
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH GHSRVLWLRQ LVVXHV UH                                 
                                   QRWHV OLWLJDWLRQ
     +5:                       1/                                                                 
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV UH QRWHV OLWLJDWLRQV                                     
     +5:                       1/                                                                  
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP FRXQVHO UH H[WHQVLRQ IRU H[SHUW                                 
                                   UHSRUWV LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      6HQG FRXQVHO VXSSOHPHQWDO SURGXFWLRQ IRU QRWHV                                    
                                   OLWLJDWLRQV DQG UHODWHG WDVNV  




HIGHLY CONFIDENTIAL                                                                                                      D-CNL003861
                                                                                                                   Appx. 02940
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HVHDUFK UH VXPPDU\ MXGJPHQW LQ QRWHV OLWLJDWLRQ                            
                                     
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ DQG ILQDOL]H HUUDWD IRU RSSRVLWLRQ EULHIV WR                             
                                   07' LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ DQG HGLW DPHQGHG GHSRVLWLRQ QRWLFHV LQ QRWHV                             
                                   OLWLJDWLRQ  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      (PDLO ORFDO FRXQVHO UH DPHQGHG GHSRVLWLRQ QRWLFHV                               
                                   LQ QRWHV OLWLJDWLRQ  
     -13                       1/                                                             
      %LOO

         -13     1/      &RQWLQXH SUHSDULQJ IRU KHDULQJ RQ PRWLRQ WR                                 
                                   GLVPLVV
     -13                       1/                                                              
      %LOO

         -13     1/      &RQIHUHQFH ZLWK -RUGDQ $ .URRS UHJDUGLQJ RYHUODS                              
                                   EHWZHHQ PRWLRQ WR GLVPLVV DQG PRWLRQ WR HQIRUFH LQ
                                   QRWHV OLWLJDWLRQ
     -13                       1/                                                              
      %LOO

         -13     1/      5HYLHZ RI 1H[3RLQW PRWLRQ WR H[WHQG WLPH WR                                    
                                   GHVLJQDWH H[SHUWV
     -0)                       1/                                                              
      %LOO

         -0)     1/      5HYLHZ PRWLRQV WR H[WHQG H[SHUW GLVFRYHU\                                      
                                   GHDGOLQHV
     -$0                       1/                                                          




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003862
                                                                                                                 Appx. 02941
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         -$0     1/      3UHSDUH IRU 'RQGHUR GHSRVLWLRQ   'RQGHUR                            
                                   GHSRVLWLRQ LQFOXGLQJ PXOWLSOH FDOOV ZLWK * 'HPR
                                   + :LQRJUDG GXULQJ EUHDNV   WHO F Z *
                                   'HPR + :LQRJUDG UH SRVWGHSRVLWLRQ IROORZXS
                                      WHO F Z - 6HHU\ UH 'RQGHUR GHSRVLWLRQ  
     *9'                       1/                                                             
      %LOO

         *9'     1/      $WWHQG GHSRVLWLRQ RI - 'RQGHUR SDUWLDO                                    
     *9'                       1/                                                              
      %LOO

         *9'     1/      5HYLHZ HPDLOV UH FRUUHVSRQGHQFH UH SUHSD\PHQW                                  
                                   DOORFDWLRQ
     *9'                       1/                                                              
      %LOO

         *9'     1/      0XOWLSOH FRQIHUHQFHV ZLWK - 0RUULV DQG +                                     
                                   :LQRJUDG UH VWDWXV RI 'RQGHUR GHSRVLWLRQ
     +5:                       1/                                                             
      %LOO

         +5:     1/      'RQGHUR GHSRVLWLRQ IRU FRQVROLGDWHG QRWHV OLWLJDWLRQ                       
                                    
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HVHDUFK IRU VXPPDU\ MXGJPHQW LQ FRQVROLGDWHG                                  
                                   QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      'UDIW DQG UHYLHZ '& 6DXWHU GHSRVLWLRQ VXESRHQD                                 
                                   DQG UHODWHG GRFXPHQWV  
     +5:                       1/                                                              
      %LOO

         +5:     1/      (PDLO ZLWK ORFDO FRXQVHO UH '& 6DXWHU GHSRVLWLRQ                              
                                   VXESRHQD  




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003863
                                                                                                                Appx. 02942
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
     +5:                       1/                                                                
      %LOO

         +5:     1/      &DOOV ZLWK - 0RUULV DQG * 'HPR UH 'RQGHUR                                     
                                   GHSRVLWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ :DWHUKRXVH GHSRVLWLRQ WUDQVFULSW                                      
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ 1H[3RLQW PRWLRQ WR H[WHQG GLVFRYHU\                                       
                                   GHDGOLQHV  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      (PDLO +&0)$ FRXQVHO UH GHSRVLWLRQ VXESRHQD                                       
                                     
     -$0                       1/                                                             
      %LOO

         -$0     1/      5HYLHZ GRFXPHQWV DQG SUHSDUHG IRU $ODQ -RKQVRQ                              
                                    H[SHUW GHSRVLWLRQ  
     -$0                       1/                                                             
      %LOO

         -$0     1/      3UHSDUH IRU -RKQVRQ GHSRVLWLRQ DQG IRU VXPPDU\                              
                                   MXGJPHQW   WHO F Z - 6HHU\ UH QRWHV OLWLJDWLRQ
                                     
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HVHDUFK DQG UHODWHG WDVNV IRU UHVSRQVH WR                                   
                                   1H[3RLQW¶V PRWLRQ WR H[WHQG GLVFRYHU\ GHDGOLQHV
                                     
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ SURGXFWLRQV LQ QRWHV OLWLJDWLRQV                                      




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003864
                                                                                                                  Appx. 02943
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
     *9'                       1/                                                                
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK - 0RUULV UH ILOLQJ RI +&0)$                                 
                                   DGYHUVDU\
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK 4XLQQ UH VWDWXV RI QRWHV OLWLJDWLRQ                             
     -$.                       1/                                                            
      %LOO

         -$.     1/      6WUDWHJ\ HPDLOV UHJDUGLQJ UHSO\ WR REMHFWLRQ WR                            
                                   PRWLRQ WR GLVPLVV DPRQJ -HII 3RPHUDQW] -RKQ
                                   0RUULV DQG ORFDO FRFRXQVHO   UHYLHZ RXWOLQH RI
                                   DUJXPHQW IRU REMHFWLRQ WR PRWLRQ WR GLVPLVV IURP
                                   -HII 3RPHUDQW]  
     -$.                       1/                                                             
      %LOO

         -$.     1/      %HJLQ RXWOLQLQJ DUJXPHQW IRU KHDULQJ RQ REMHFWLRQ WR                           
                                   PRWLRQ IRU DUELWUDWLRQ
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH VWUDWHJ\ IRU QRWHV                                 
                                   OLWLJDWLRQ
     *9'                       1/                                                              
      %LOO

         *9'     1/      5HYLHZ GUDIW DUJXPHQWV RQ PRWLRQ WR GLVPLVV DQG                             
                                   PRWLRQ WR FRPSHO DUELWUDWLRQ
     *9'                       1/                                                               
      %LOO

         *9'     1/      ,QLWLDO FRQIHUHQFH ZLWK 36=- WHDP UH SUHSDUDWLRQ IRU                            
                                   RUDO DUJXPHQW   $WWHQG IROORZ XS FRQIHUHQFH UH
                                   SUHSDUDWLRQ IRU RUDO DUJXPHQW SDUWLDO 
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH SUHSDUDWLRQ IRU                                    
                                   'RQGHUR GHSRVLWLRQ




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003865
                                                                                                                 Appx. 02944
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HIGHLY CONFIDENTIAL                                                          D-CNL003866
                                                                       Appx. 02945
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                            EXHIBIT 181




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                                                                            EXHIBIT "A"


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                                   SECOND AMENDED AND RESTATED
                                    SHARED SERVICES AGREEMENT

            THIS SECOND AMENDED AND RESTATED SHARED SERVICES AGREEMENT (this
    “Agreement”) is entered into to be effective as of 8th day of February, 2013 (the “Effective Date”) by and
    among Highland Capital Management, L.P., a Delaware limited partnership (“HCMLP”), and Highland
    Capital Management Fund Advisors, L.P., formerly known as Pyxis Capital, L.P., a Delaware limited
    partnership (“HCMFA”), and any affiliate of HCMFA that becomes a party hereto. Each of the
    signatories hereto is individually a “Party” and collectively the “Parties”.

                                                   RECITALS

            A.      During the Term, HCMLP will provide to HCMFA certain services as more fully
    described herein and the Parties desire to allocate the costs incurred for such services and assets among
    them in accordance with the terms and conditions in this Agreement.

                                                 AGREEMENT

             In consideration of the foregoing recitals and the mutual covenants and conditions contained
    herein, the Parties agree, intending to be legally bound, as follows:

                                                  ARTICLE I
                                                 DEFINITIONS

            “Actual Cost” means, with respect to any period hereunder, one hundred percent (100%) of the
    actual costs and expenses caused by, incurred or otherwise arising from or relating to (i) the Shared
    Services and (ii) the Shared Assets, in each case during such period.

            “Affiliate” means a Person that directly, or indirectly through one or more intermediaries,
    controls, or is controlled by, or is under common control with, a specified Person. The term “control”
    (including, with correlative meanings, the terms “controlled by” and “under common control with”)
    means the possession of the power to direct the management and policies of the referenced Person,
    whether through ownership interests, by contract or otherwise.

            “Agreement” has the meaning set forth in the preamble.

            “Allocation Percentage” has the meaning set forth in Section 4.01.

            “Applicable Margin” shall mean an additional amount equal to 5% of all costs allocated by
    Service Provider to the other parties hereto under Article IV; provided that the parties may agree on a
    different margin percentage as to any item or items to the extent the above margin percentage, together
    with the allocated cost of such item or service, would not reflect an arm’s length value of the particular
    service or item allocated.

            “Change” has the meaning set forth in Section 2.02(a).

            “Change Request” has the meaning set forth in Section 2.02(b).

            “Code” means the Internal Revenue Code of 1986, as amended, and the related regulations and
    published interpretations.




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             “Effective Date” has the meaning set forth in the preamble.

            “Governmental Entity” means any government or any regulatory agency, bureau, board,
     commission, court, department, official, political subdivision, tribunal or other instrumentality of any
     government, whether federal, state or local, domestic or foreign.

              “Liabilities” means any cost, liability, indebtedness, obligation, co-obligation, commitment,
     expense, claim, deficiency, guaranty or endorsement of or by any Person of any nature (whether direct or
     indirect, known or unknown, absolute or contingent, liquidated or unliquidated, due or to become due,
     accrued or unaccrued, matured or unmatured).

             “Loss” means any cost, damage, disbursement, expense, liability, loss, obligation, penalty or
     settlement, including interest or other carrying costs, legal, accounting and other professional fees and
     expenses incurred in the investigation, collection, prosecution and defense of claims and amounts paid in
     settlement, that may be imposed on or otherwise incurred or suffered by the referenced Person; provided,
     however, that the term “Loss” will not be deemed to include any special, exemplary or punitive damages,
     except to the extent such damages are incurred as a result of third party claims.

             “New Shared Service” has the meaning set forth in Section 2.03.

             “Party” or “Parties” has the meaning set forth in the preamble.

           “Person” means an association, a corporation, an individual, a partnership, a limited liability
     company, a trust or any other entity or organization, including a Governmental Entity.

             “Quarterly Report” has the meaning set forth in Section 5.01.

             “Recipient” means HCMFA and any of HCMFA’s direct or indirect Subsidiaries or managed
     funds or accounts in their capacity as a recipient of the Shared Services and/or Shared Assets.

             “Service Provider” means any of HCMLP and its direct or indirect Subsidiaries in its capacity as
     a provider of Shared Services or Shared Assets.

             “Service Standards” has the meaning set forth in Section 6.01.

             “Shared Assets” shall have the meaning set forth in Section 3.02.

             “Shared Services” shall have the meaning set forth in Section 2.01.

              “Subsidiary” means, with respect to any Person, any Person in which such Person has a direct or
     indirect equity ownership interest in excess of 50%.

              “Tax” or “Taxes” means: (i) all state and local sales, use, value-added, gross receipts, foreign,
     privilege, utility, infrastructure maintenance, property, federal excise and similar levies, duties and other
     similar tax-like charges lawfully levied by a duly constituted taxing authority against or upon the Shared
     Services and the Shared Assets; and (ii) tax-related surcharges or fees that are related to the Shared
     Services and the Shared Assets identified and authorized by applicable tariffs.

             “Term” has the meaning set forth in Section 7.01.




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                                                  ARTICLE II
                                               SHARED SERVICES

             Section 2.01     Services. During the Term, Service Provider will provide Recipient with Shared
     Services, including without limitation, all of the (i) finance and accounting services, (ii) human resources
     services, (iii) marketing services, (iv) legal services, (v) corporate services, (vi) information technology
     services, and (vii) operations services; each as requested by HCMFA and as described more fully on
     Annex A attached hereto, the “Shared Services”), it being understood that personnel providing Shared
     Services may be deemed to be employees of HCMFA to the extent necessary for purposes of the
     Investment Advisers Act of 1940, as amended.

             Section 2.02    Changes to the Shared Services.

                     (a)      During the Term, the Parties may agree to modify the terms and conditions of a
     Service Provider’s performance of any Shared Service in order to reflect new procedures, processes or
     other methods of providing such Shared Service, including modifying the applicable fees for such Shared
     Service to reflect the then current fair market value of such service (a “Change”). The Parties will
     negotiate in good faith the terms upon which a Service Provider would be willing to provide such New
     Shared Service to Recipient.

                      (b)      The Party requesting a Change will deliver a description of the Change requested
     (a “Change Request”) and no Party receiving a Change Request may unreasonably withhold, condition or
     delay its consent to the proposed Change.

                      (c)      Notwithstanding any provision of this Agreement to the contrary, a Service
     Provider may make: (i) Changes to the process of performing a particular Shared Service that do not
     adversely affect the benefits to Recipient of Service Provider’s provision or quality of such Shared
     Service in any material respect or increase Recipient’s cost for such Shared Service; (ii) emergency
     Changes on a temporary and short-term basis; and/or (iii) Changes to a particular Shared Service in order
     to comply with applicable law or regulatory requirements, in each case without obtaining the prior
     consent of Recipient. A Service Provider will notify Recipient in writing of any such Change as follows:
     in the case of clauses (i) and (iii) above, prior to the implementation of such Change, and, in the case of
     clause (ii) above, as soon as reasonably practicable thereafter.

             Section 2.03   New Shared Services. The Parties may, from time to time during the Term of
     this Agreement, negotiate in good faith for Shared Services not otherwise specifically listed in Section
     2.01 (a “New Shared Service”). Any agreement between the Parties on the terms for a New Shared
     Service must be in accordance with the provisions of Article IV and Article V hereof, will be deemed to
     be an amendment to this Agreement and such New Shared Service will then be a “Shared Service” for all
     purposes of this Agreement.

             Section 2.04   Subcontractors. Nothing in this Agreement will prevent Service Provider from,
     with the consent of Recipient, using subcontractors, hired with due care, to perform all or any part of a
     Shared Service hereunder. A Service Provider will remain fully responsible for the performance of its
     obligations under this Agreement in accordance with its terms, including any obligations it performs
     through subcontractors, and a Service Provider will be solely responsible for payments due to its
     subcontractors.




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                                                   ARTICLE III
                                                 SHARED ASSETS

              Section 3.01    Shared IP Rights. Each Service Provider hereby grants to Recipient a non-
     exclusive right and license to use the intellectual property and other rights granted or licensed, directly or
     indirectly, to such Service Provider (the “Shared IP Rights”) pursuant to third party intellectual property
     Agreements (“Third Party IP Agreements”), provided that the rights granted to Recipient hereunder are
     subject to the terms and conditions of the applicable Third Party IP Agreement, and that such rights shall
     terminate, as applicable, upon the expiration or termination of the applicable Third Party IP Agreement.
     Recipient shall be licensed to use the Shared IP Rights only for so long as it remains an Affiliate of
     HCMLP. In consideration of the foregoing licenses, Recipient agrees to take such further reasonable
     actions as a Service Provider deems to be necessary or desirable to comply with its obligations under the
     Third Party IP Agreements.

             Section 3.02     Other Shared Assets. Subject to Section 3.01, each Service Provider hereby
     grants Recipient the right, license or permission, as applicable, to use and access the benefits under the
     agreements, contracts and licenses that such Service Provider will purchase, acquire, become a party or
     beneficiary to or license on behalf of Recipient (the “Future Shared Assets” and collectively with the
     Shared IP Rights, the “Shared Assets”).

                                                   ARTICLE IV
                                                COST ALLOCATION

             Section 4.01   Actual Cost Allocation Formula. The Actual Cost of any item relating to any
     Shared Services or Shared Assets shall be allocated based on the Allocation Percentage. For purposes of
     this Agreement, “Allocation Percentage” means:

                     (a)      To the extent 100% of such item is demonstrably attributable to HCMFA, 100%
     of the Actual Cost of such item shall be allocated to HCMFA as agreed by HCMFA;

                    (b)    To the extent a specific percentage of use of such item can be determined (e.g.,
     70% for HCMLP and 30% for HCMFA), that specific percentage of the Actual Cost of such item will be
     allocated to HCMLP or HCMFA, as applicable and as agreed by HCMFA; and

                     (c)      All other portions of the Actual Cost of any item that cannot be allocated
     pursuant to clause (a) or (b) above shall be allocated between HCMLP and HCMFA in such proportion as
     is agreed in good faith between the parties.

             Section 4.02     Non-Cash Cost Allocation. The actual, fully burdened cost of any item relating
     to any Shared Services or Shared Assets that does not result in a direct, out of pocket cash expense may
     be allocated to HCMLP and HCMFA for financial statement purposes only, as agreed by HCMFA,
     without any corresponding cash reimbursement required, in accordance with generally accepted
     accounting principles, based on the Allocation Percentage principles described in Section 4.01 hereof.

                                             ARTICLE V
                             PAYMENT OF COST AND REVENUE SHARE; TAXES

             Section 5.01     Quarterly Statements. Within thirty (30) days following the end of each calendar
     qaurter during the Term (or at such time as may be otherwise agreed by the parties), each Service
     Provider shall furnish the other Parties hereto with a written statement with respect to the Actual Cost
     paid by it in respect of Shared Services and Shared Assets provided by it, in each case, during such


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     period, setting forth (i) the cost allocation in accordance with Article IV hereof together with the
     Applicable Margin on such allocated amounts, and (ii) any amounts paid pursuant to Section 5.02 hereof,
     together with such other data and information necessary to complete the items described in Section 5.03
     hereof (hereinafter referred to as the “Quarterly Report”).

              Section 5.02    Settlement Payments. At any time during the Term, any Party may make
     payment of the amounts that are allocable to such Party together with the Applicable Margin related
     thereto, regardless of whether an invoice pursuant to Section 5.03 hereof has been issued with respect to
     such amounts.

             Section 5.03    Determination and Payment of Cost and Revenue Share.

                      (a)     Within ten (10) days of the submission of the Quarterly Report described in
     Section 5.02 hereof (or at such other time as may be agreed by the parties), the Parties shall (i) agree on
     the cost share of each of the Parties and Applicable Margin as calculated pursuant to the provisions of this
     Agreement; and (ii) prepare and issue invoices for the cost share and Applicable Margin payments that
     are payable by any of the Parties.

                      (b)     Within ten (10) days of preparation of the agreement and the issuance of the
     invoice described in Section 5.03(a) (or at such other time as may be agreed by the parties), the Parties
     shall promptly make payment of the amounts that are set forth on such cost allocation invoice.
     Notwithstanding anything in this Agreement to the contrary, provision of the Shared Services shall
     commence from the Effective Date, but no fees shall be payable from Recipient or otherwise accrue with
     respect to such services provided during the month of December 2011.

             Section 5.04    Taxes.

                      (a)     Recipient is responsible for and will pay all Taxes applicable to the Shared
     Services and the Shared Assets provided to Recipient, provided, that such payments by Recipient to
     Service Provider will be made in the most tax-efficient manner and provided further, that Service
     Provider will not be subject to any liability for Taxes applicable to the Shared Services and the Shared
     Assets as a result of such payment by Recipient. Service Provider will collect such Tax from Recipient in
     the same manner it collects such Taxes from other customers in the ordinary course of Service Provider’s
     business, but in no event prior to the time it invoices Recipient for the Shared Services and Shared Assets,
     costs for which such Taxes are levied. Recipient may provide Service Provider with a certificate
     evidencing its exemption from payment of or liability for such Taxes.

                      (b)    Service Provider will reimburse Recipient for any Taxes collected from Recipient
     and refunded to Service Provider. In the event a Tax is assessed against Service Provider that is solely the
     responsibility of Recipient and Recipient desires to protest such assessment, Recipient will submit to
     Service Provider a statement of the issues and arguments requesting that Service Provider grant Recipient
     the authority to prosecute the protest in Service Provider’s name. Service Provider’s authorization will
     not be unreasonably withheld. Recipient will finance, manage, control and determine the strategy for
     such protest while keeping Service Provider reasonably informed of the proceedings. However, the
     authorization will be periodically reviewed by Service Provider to determine any adverse impact on
     Service Provider, and Service Provider will have the right to reasonably withdraw such authority at any
     time. Upon notice by Service Provider that it is so withdrawing such authority, Recipient will
     expeditiously terminate all proceedings. Any adverse consequences suffered by Recipient as a result of
     the withdrawal will be submitted to arbitration pursuant to Section 9.14. Any contest for Taxes brought
     by Recipient may not result in any lien attaching to any property or rights of Service Provider or
     otherwise jeopardize Service Provider’s interests or rights in any of its property. Recipient agrees to


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     indemnify Service Provider for all Losses that Service Provider incurs as a result of any such contest by
     Recipient.

                       (c)     The provisions of this Section 5.04 will govern the treatment of all Taxes arising
     as a result of or in connection with this Agreement notwithstanding any other Article of this Agreement to
     the contrary.

                                              ARTICLE VI
                                   SERVICE PROVIDER RESPONSIBILITIES

             Section 6.01    Service Provider General Obligations. Service Provider will provide the Shared
     Services and the Shared Assets to Recipient on a non-discriminatory basis and will provide the Shared
     Services and the Shared Assets in the same manner as if it were providing such services and assets on its
     own account (the “Service Standards”). Service Provider will conduct its duties hereunder in a lawful
     manner in compliance with applicable laws, statutes, rules and regulations and in accordance with the
     Service Standards, including, for avoidance of doubt, laws and regulations relating to privacy of customer
     information.

              Section 6.02    Books and Records; Access to Information. Service Provider will keep and
     maintain books and records on behalf of Recipient in accordance with past practices and internal control
     procedures. Recipient will have the right, at any time and from time to time upon reasonable prior notice
     to Service Provider, to inspect and copy (at its expense) during normal business hours at the offices of
     Service Provider the books and records relating to the Shared Services and Shared Assets, with respect to
     Service Provider’s performance of its obligations hereunder. This inspection right will include the ability
     of Recipient’s financial auditors to review such books and records in the ordinary course of performing
     standard financial auditing services for Recipient (but subject to Service Provider imposing reasonable
     access restrictions to Service Provider’s and its Affiliates’ proprietary information and such financial
     auditors executing appropriate confidentiality agreements reasonably acceptable to Service Provider).
     Service Provider will promptly respond to any reasonable requests for information or access. For the
     avoidance of doubt, all books and records kept and maintained by Service Provider on behalf of Recipient
     shall be the property of Recipient, and Service Provider will surrender promptly to Recipient any of such
     books or records upon Recipient’s request (provided that Service Provider may retain a copy of such
     books or records) and shall make all such books and records available for inspection and use by the
     Securities and Exchange Commission or any person retained by Recipient at all reasonable times. Such
     records shall be maintained by Service Provider for the periods and in the places required by laws and
     regulations applicable to Recipient.

             Section 6.03  Return of Property and Equipment. Upon expiration or termination of this
     Agreement, Service Provider will be obligated to return to Recipient, as soon as is reasonably practicable,
     any equipment or other property or materials of Recipient that is in Service Provider’s control or
     possession.

                                                ARTICLE VII
                                           TERM AND TERMINATION

             Section 7.01      Term. The term of this Agreement will commence as of the Effective Date and
     will continue in full force and effect until the first anniversary of the Effective Date (the “Term”), unless
     terminated earlier in accordance with Section 9.02. The Term shall automatically renew for successive
     one year periods unless sooner terminated under Section 7.02.




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             Section 7.02    Termination. Either Party may terminate this Agreement, with or without cause,
     upon at least 60 days advance written notice at any time prior to the expiration of the Term.

                                                 ARTICLE VIII
                                              LIMITED WARRANTY

              Section 8.01    Limited Warranty. Service Provider will perform the Shared Services hereunder
     in accordance with the Service Standards. Except as specifically provided in this Agreement, Service
     Provider makes no express or implied representations, warranties or guarantees relating to its performance
     of the Shared Services and the granting of the Shared Assets under this Agreement, including any
     warranty of merchantability, fitness, quality, non-infringement of third party rights, suitability or
     adequacy of the Shared Services and the Shared Assets for any purpose or use or purpose. Service
     Provider will (to the extent possible and subject to Service Provider’s contractual obligations) pass
     through the benefits of any express warranties received from third parties relating to any Shared Service
     and Shared Asset, and will (at Recipient’s expense) assist Recipient with any warranty claims related
     thereto.

                                              ARTICLE IX
                                            MISCELLANEOUS

              Section 9.01    No Partnership or Joint Venture; Independent Contractor. Nothing contained in
     this Agreement will constitute or be construed to be or create a partnership or joint venture between or
     among HCMLP or HCMFA or their respective successors or assigns. The Parties understand and agree
     that, with the exception of the procurement by Service Provider of licenses or other rights on behalf of
     Recipient pursuant to Section 3.01, this Agreement does not make any of them an agent or legal
     representative of the other for any purpose whatsoever. With the exception of the procurement by Service
     Provider of licenses or other rights on behalf of Recipient pursuant to Section 3.01, no Party is granted, by
     this Agreement or otherwise, any right or authority to assume or create any obligation or responsibilities,
     express or implied, on behalf of or in the name of any other Party, or to bind any other Party in any
     manner whatsoever. The Parties expressly acknowledge that Service Provider is an independent
     contractor with respect to Recipient in all respects, including with respect to the provision of the Shared
     Services.

             Section 9.02     Amendments; Waivers. Except as expressly provided herein, this Agreement
     may be amended only by agreement in writing of all Parties. No waiver of any provision nor consent to
     any exception to the terms of this Agreement or any agreement contemplated hereby will be effective
     unless in writing and signed by all of the Parties affected and then only to the specific purpose, extent and
     instance so provided. No failure on the part of any Party to exercise or delay in exercising any right
     hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any further or
     other exercise of such or any other right.

             Section 9.03    Schedules and Exhibits; Integration. Each Schedule and Exhibit delivered
     pursuant to the terms of this Agreement must be in writing and will constitute a part of this Agreement,
     although schedules need not be attached to each copy of this Agreement. This Agreement, together with
     such Schedules and Exhibits constitutes the entire agreement among the Parties pertaining to the subject
     matter hereof and supersedes all prior agreements and understandings of the Parties in connection
     therewith.

            Section 9.04     Further Assurances. Each Party will take such actions as any other Party may
     reasonably request or as may be necessary or appropriate to consummate or implement the transactions
     contemplated by this Agreement or to evidence such events or matters.


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             Section 9.05   Governing Law. This Agreement and the legal relations between the Parties will
     be governed by and construed in accordance with the laws of the State of Texas applicable to contracts
     made and performed in such State and without regard to conflicts of law doctrines unless certain matters
     are preempted by federal law.

             Section 9.06     Assignment. Except as otherwise provided hereunder, neither this Agreement
     nor any rights or obligations hereunder are assignable by one Party without the express prior written
     consent of the other Parties.

             Section 9.07    Headings. The descriptive headings of the Articles, Sections and subsections of
     this Agreement are for convenience only and do not constitute a part of this Agreement.

              Section 9.08    Counterparts. This Agreement and any amendment hereto or any other
     agreement delivered pursuant hereto may be executed in one or more counterparts and by different Parties
     in separate counterparts. All counterparts will constitute one and the same agreement and will become
     effective when one or more counterparts have been signed by each Party and delivered to the other
     Parties.

              Section 9.09    Successors and Assigns; No Third Party Beneficiaries. This Agreement is
     binding upon and will inure to the benefit of each Party and its successors or assigns, and nothing in this
     Agreement, express or implied, is intended to confer upon any other Person or Governmental Entity any
     rights or remedies of any nature whatsoever under or by reason of this Agreement.

             Section 9.10     Notices. All notices, demands and other communications to be given or
     delivered under or by reason of the provisions of this Agreement will be in writing and will be deemed to
     have been given: (i)immediately when personally delivered; (ii) when received by first class mail, return
     receipt requested; (iii) one day after being sent for overnight delivery by Federal Express or other
     overnight delivery service; or (iv) when receipt is acknowledged, either electronically or otherwise, if sent
     by facsimile, telecopy or other electronic transmission device. Notices, demands and communications to
     the other Parties will, unless another address is specified by such Parties in writing, be sent to the
     addresses indicated below:

                              If to HCMLP, addressed to:

                              Highland Capital Management, L.P.
                              300 Crescent Court, Suite 700
                              Dallas, Texas 75201
                              Attention: General Counsel
                              Fax: (972) 628-4147

                              If to HCMFA, addressed to:

                              Highland Capital Management Fund Advisors, L.P.
                              300 Crescent Court, Suite 700
                              Dallas, Texas 75201
                              Attention: General Counsel
                              Fax: (972) 628-4147

             Section 9.11    Expenses. Except as otherwise provided herein, the Parties will each pay their
     own expenses incident to the negotiation, preparation and performance of this Agreement, including the
     fees, expenses and disbursements of their respective investment bankers, accountants and counsel.


                                                           8
                                                                                                       Appx. 02962
Case 3:21-cv-00881-X Document 178-5 Filed 01/09/24                             Page 179 of 200 PageID 41972
   Case
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      21-03004-sgj DocDoc 4-1 Filed
                        32-1  Filed 02/17/21
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                                                                         Page  of 14
                                                                                  of 31




              Section 9.12     Waiver. No failure on the part of any Party to exercise or delay in exercising any
     right hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any
     further or other exercise of such or any other right.

             Section 9.13     Severability. If any provision of this Agreement is held to be unenforceable for
     any reason, it will be adjusted rather than voided, if possible, to achieve the intent of the Parties. All
     other provisions of this Agreement will be deemed valid and enforceable to the extent possible.

              Section 9.14     Arbitration; Jurisdiction. Notwithstanding anything contained in this Agreement
     or the Annexes hereto to the contrary, in the event there is an unresolved legal dispute between the parties
     and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
     representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
     submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
     however, that either party or such applicable affiliate thereof may pursue a temporary restraining order
     and/or preliminary injunctive relief in connection with confidentiality covenants or agreements binding
     on the other party, with related expedited discovery for the parties, in a court of law, and, thereafter,
     require arbitration of all issues of final relief. The Arbitration will be conducted by the American
     Arbitration Association, or another, mutually agreeable arbitration service. The arbitrator(s) shall be duly
     licensed to practice law in the State of Texas. The discovery process shall be limited to the following:
     Each side shall be permitted no more than (i) two party depositions of six hours each. Each deposition is
     to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii)
     twenty-five interrogatories; (iv) twenty-five requests for admission; (v) ten requests for production. In
     response, the producing party shall not be obligated to produce in excess of 5,000 total pages of
     documents. The total pages of documents shall include electronic documents; (vi) one request for
     disclosure pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in
     this paragraph, whether to parties or non-parties, shall not be permitted. The arbitrator(s) shall be
     required to state in a written opinion all facts and conclusions of law relied upon to support any decision
     rendered. No arbitrator will have authority to render a decision that contains an outcome determinative
     error of state or federal law, or to fashion a cause of action or remedy not otherwise provided for under
     applicable state or federal law. Any dispute over whether the arbitrator(s) has failed to comply with the
     foregoing will be resolved by summary judgment in a court of law. In all other respects, the arbitration
     process will be conducted in accordance with the American Arbitration Association’s dispute resolution
     rules or other mutually agreeable, arbitration service rules. The party initiating arbitration shall pay all
     arbitration costs and arbitrator’s fees, subject to a final arbitration award on who should bear costs and
     fees. All proceedings shall be conducted in Dallas, Texas, or another mutually agreeable site. Each party
     shall bear its own attorneys fees, costs and expenses, including any costs of experts, witnesses and/or
     travel, subject to a final arbitration award on who should bear costs and fees. The duty to arbitrate
     described above shall survive the termination of this Agreement. Except as otherwise provided above, the
     parties hereby waive trial in a court of law or by jury. All other rights, remedies, statutes of limitation and
     defenses applicable to claims asserted in a court of law will apply in the arbitration.

             Section 9.15     General Rules of Construction. For all purposes of this Agreement and the
     Exhibits and Schedules delivered pursuant to this Agreement: (i) the terms defined in Article I have the
     meanings assigned to them in Article I and include the plural as well as the singular; (ii) all accounting
     terms not otherwise defined herein have the meanings assigned under GAAP; (iii) all references in this
     Agreement to designated “Articles,” “Sections” and other subdivisions are to the designated Articles,
     Sections and other subdivisions of the body of this Agreement; (iv) pronouns of either gender or neuter
     will include, as appropriate, the other pronoun forms; (v) the words “herein,”“hereof” and “hereunder”
     and other words of similar import refer to this Agreement as a whole and not to any particular Article,
     Section or other subdivision; (vi) “or” is not exclusive; (vii) “including” and “includes” will be deemed to
     be followed by “but not limited to” and “but is not limited to, “respectively; (viii) any definition of or

                                                           9
                                                                                                        Appx. 02963
Case 3:21-cv-00881-X Document 178-5 Filed 01/09/24                         Page 180 of 200 PageID 41973
   Case
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      21-03004-sgj DocDoc 4-1 Filed
                        32-1  Filed 02/17/21
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     reference to any law, agreement, instrument or other document herein will be construed as referring to
     such law, agreement, instrument or other document as from time to time amended, supplemented or
     otherwise modified; and (ix) any definition of or reference to any statute will be construed as referring
     also to any rules and regulations promulgated thereunder.




                                                        10
                                                                                                   Appx. 02964
Case 3:21-cv-00881-X Document 178-5 Filed 01/09/24     Page 181 of 200 PageID 41974
    Case21-03004-sgj
    Case 21-03010-sgjDoc
                     Doc32-1
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   Case
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                                                        Annex A

                                                  Shared Services

              Compliance
                            General compliance
                            Compliance systems
              Facilities
                            Equipment
                            General Overhead
                            Office Supplies
                            Rent & Parking
              Finance & Accounting
                           Book keeping
                            Cash management
                            Cash forecasting
                            Credit facility reporting
                            Financial reporting
                            Accounts payable
                            Accounts receivable
                            Expense reimbursement
                            Vendor management
              HR
                            Drinks/snacks
                            Lunches
                            Recruiting
              IT
                            General support & maintenance (OMS, development, support)
                            Telecom (cell, phones, broadband)
                            WSO
              Legal
                            Corporate secretarial services
                            Document review and preparation
                            Litigation support
                            Management of outside counsel
              Marketing and PR
                            Public relations
              Tax
                            Tax audit support
                            Tax planning
                            Tax prep and filing
              Investments
                            Investment research on an ad hoc basis as requested by HCMFA



                                                                                           Appx. 02966
Case 3:21-cv-00881-X Document 178-5 Filed 01/09/24       Page 183 of 200 PageID 41976
   Case
 Case    21-03010-sgj
      21-03004-sgj DocDoc 4-1 Filed
                        32-1  Filed 02/17/21
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                                                                         Page  of 14
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                           Valuation Committee
              Trading
                           Trading desk services
              Operations
                           Trade settlement




                                                   13
                                                                           Appx. 02967
    Case 3:21-cv-00881-X Document 178-5 Filed 01/09/24 Page 184 of 200 PageID 41977
       Case 21-03004-sgj Doc 32-1 Filed 05/22/21 Entered 05/22/21 11:23:20 Page 22 of 31


Rukavina, Davor

From:                              James Seery <jpseeryjr@gmail.com>
Sent:                              Thursday, September 17, 2020 4:17 PM
To:                                DC Sauter
Cc:                                Gregory V. Demo
Subject:                           Re: Acis Settlement


DC

IbelieveyourconcernsregardingthereleasearemisplacedasitdoesnotbindentitiesthatHCMLPdoesnot
control.Gregcanwalkyouthroughthelanguage,butIdonotbelieveitrequiresadjustmentnordoesitcreateany
liability.Tothecontrary,itreducesliability.

WithregardtotheHCMLPemployeeprohibitions,noemployeewhetherlegalornonͲlegalcanworkonanymatterthat
isinimicaltotheinterestsofHCMLP.I,asCEO,andtheIndependentBoardwillmakethedeterminationastowhether
anactionviolatestheprohibition,andabreachoftheprohibitionwillleadtoterminationforcause.Ibelievethatmost
oftheemployeeshavebeeninformedofthisrequirementandarefollowingthedirective.

Withregardtotransactionalmatters,HCMLPemployeeswillcontinuetoworkwithyouonthoseissuesthatdonotrun
afouloftheprohibitionabove.Ifthereisaparticularmatterwhereyouaretakingapotentiallyadversarialactionvisa
visHCMLP,pleaseletmeknowwhatitis.Wecanthenconsiderwhetheracustomizedoperatingprotocolforthatissue
isneededorwhetheryouwillsimplybeonyourown.Iwillmakethedeterminationwiththeadviceofcounsel.Wedo
notbelievetheTexasrulesofprofessionalresponsibilityapplyinthissituation.

Pleaseletmeknowwhatmatteryouareconsideringwithrespecttotheimmediatelyprecedingparagraph,andwewill
considerhowtobestaddressyourconcerns.

Best.Jim

JimSeery
631Ͳ804Ͳ2049
jpseeryjr@gmail.com



From:DCSauter<DSauter@NexPointadvisors.com>
Date:Thursday,September17,2020at4:56PM
To:JimSeery<jpseeryjr@gmail.com>
Cc:GregDemo<GDemo@pszjlaw.com>
Subject:RE:AcisSettlement

Jim/Greg,followuponmyemailbelow.Ihaveafewitemsthathavebeenplacedonmyplate,andIreallyneedto
understandwhoIcanspeakwithandtheextenttowhichtheyarepermittedtoshareinformationwithme.

  
D.C. S AU T E R 
  

                                   

                                                              1                                       EXHIBIT 2
                                                                                                        Appx. 02968
     Case 3:21-cv-00881-X Document 178-5 Filed 01/09/24 Page 185 of 200 PageID 41978
       Case 21-03004-sgj Doc 32-1 Filed 05/22/21 Entered 05/22/21 11:23:20 Page 23 of 31
O: 972.628.4117 | C: 469.877.6440   

From:DCSauter
Sent:Tuesday,September15,20208:55AM
To:'JamesSeery'<jpseeryjr@gmail.com>
Cc:GregoryV.Demo<GDemo@pszjlaw.com>
Subject:RE:AcisSettlement

MyapologiesforcopyingIsaac.Iwasunderthemistakenimpressionthathewouldhaveassistedinthesettlement.

Inmyview,therequestedclarificationisbeneficialtoStrand,HCMLP,andtheother“HCMLPEntities.”Thedocuments
purporttoreleaseACISfromclaimsonbehalfof,amongothers,anyentitythatis“managed”byHCMLPand“respective
currentadvisors,trustees,directors,officers,managers,members,partners,currentorformeremployees,beneficiaries,
shareholders,agents,participants,subsidiaries,parents,affiliates,successors,designees,andassigns”ofany“HCMLP
Entity.”Those“HCMLPEntities”lacktheauthoritytobindawholehostofpartiesinthatlaundrylist,whichcouldresult
inclaimsagainstHCMLP,Strand,andtheother“HCMLPEntities”byboththe“ACISReleasedParties,”whowillclaim
theydidn’treceivethebenefitofthebargain,andthepartiesonwhosebehalfthe“HCMLPParties”purportedtorelease
claimswhodidn’tconsenttotherelease.

Additionally,I’dliketovisitwithyouallregardingtheboard’spositionthatprohibitscertainHCMLPpersonnelfrom
workingoncertainmatters.

First,IamunclearwhethertheprohibitionappliestoonlyHCMLPlegalpersonnelorwhetheritappliestoallHCMLP
employees.Pleaseclarify.

Second,asyoumayknow,virtuallyallofthesemattersarefallingintomylap,andinmostcasesIlackanyknowledge
aboutthem.ItwouldhelpmetremendouslyifcurrentHCMLPemployees,andparticularlythelegalpersonnel,could
providemewithtransactionalbackgroundtoassistinthetransitionofthematter.WhileIunderstandtheboard’s
concernwithJudgeJernigan’sorder,Idon’tbelievethattheTexasDisciplinaryRulesofProfessionalConductmandateor
evenpermitanattorneylicensedintheStateofTexastorefusetocooperatewithaformerclientinthetransferofa
mattertoanewattorney.Rule1.15(d)statesthat“[u]ponterminationofrepresentation,alawyershalltakestepsto
theextentreasonablypracticabletoprotectaclient'sinterests,suchasgivingreasonablenoticetotheclient,allowing
timeforemploymentofothercounsel,surrenderingpapersandpropertytowhichtheclientisentitledandrefunding
anyadvancepaymentsoffeethathasnotbeenearned.”Thecommentstothatruleprovideadditionalclarity:“Inevery
instanceofwithdrawalandevenifthelawyerhasbeenunfairlydischargedbytheclient,alawyermusttakeall
reasonablestepstomitigatetheconsequencestotheclient.”T.D.R.P.C.Rule1.15,comment9.Properstepsmay
includeprovidinginformationtonewcounselorevencontinuingtorepresenttheclientforalimitedtimetomeet
impendingdeadlines.MicrosoftCorp.v.CommonwealthSci.&Indus.ResearchOrg.,2007U.S.Dist.LEXIS91550*23Ͳ24
fn.11(E.D.Tex.Dec.13,2007).EveniftheboardinsiststhattheHCMLPlegalpersonnelcannotcontinuetorepresent
othersinnonͲHCMLPmattersormattersadversetoHCMLP(irrespectiveofanyconflictofinterestanalysisofwhether
thoseattorneysmaycontinuetorepresentHCMLPinthosematters),theethicalrulesrequirethattheattorneysprovide
assistanceintransferringthosematterstomeorothers.

Finally,Iroutinelyhandle,andamroutinelyaskedtohandle,legalmattersthatrelatetorealestateforentitiesownedor
controlledbyHCMLP(ParkWest,theArizonaassets,theMapleAve.property,tonameafew).IamnotanHCMLP
employee,andit’smyunderstandingthatNexPointAdvisors,L.P.isnotcompensatedforthetimeIspendonHCMLP
matters.I’mnotsuggestingthatthisarrangementshouldchange,butitfeelsfrommyperspectivethattheboard’s
positionisonlyworkinginonedirection.Inotherwords,ifIunderstandtheboard’spositioncorrectly,Icanworkon
bothNexPointandHCMLPmatters,buttheHCMLPlegalemployeesmayonlyworkonHCMLPͲrelatedmatters.Ithas
alsoputasignificantamountofadditionalworkonmyplate.Iwouldliketounderstandtwothings.First,whatisthe
scopeofmyauthorityinthesematters,andwhatistheproperprotocolvisͲàͲvisyou,DSI,andtheboard?Ihavetriedto
taketheconservativeapproachinkeepingyouallinformedandaskingforconsentorapprovalwhereIthoughtsit

                                                              2
                                                                                                        Appx. 02969
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appropriate.Iassumethisishowyou’dliketocontinuetohandlethings,butIwouldlikeconfirmationofthat.Second,I
haveheardthatyouallwereworkingtotransferacoupleofthelegalpersonnel(perhapsThedfordandPost)toHCMFA
sotheycouldassistwiththeworkload(particularlyintheareaswhereIdon’thaveasignificantamountof
experience).I’dliketoknowwherethatstandsandwhenreliefcanbeexpected.

I’mavailablemostoftodayandtomorrowtodiscuss.

 
D.C. S AU T E R 
 

                                        

O: 972.628.4117 | C: 469.877.6440   

From:JamesSeery<jpseeryjr@gmail.com>
Sent:Tuesday,September15,20207:01AM
To:DCSauter<DSauter@NexPointadvisors.com>
Cc:GregoryV.Demo<GDemo@pszjlaw.com>;IsaacLeventon<ILeventon@HighlandCapital.com>
Subject:Re:AcisSettlement

DC.Wewilldiscussandreverttoyou.NeitherIsaacnoranyoneelseatHCMLPispermittedtoworkonanyissues
relatedtothesettlementandreleaseotherthanasdirectedbyme.

Thanks

SentfrommyiPad


           OnSep14,2020,at7:08PM,DCSauter<DSauter@nexpointadvisors.com>wrote:

           
           Greg,
           
           I’vebeenaskedtoreviewtheattachedreleaseonbehalfofHCMFAandtheclosedͲendfunds.I’m
           concernedthatthelanguagebelowcreatesanambiguityastowhethertheclosedͲendfundsand
           HCMFAhavereleasedclaimsagainsttheACISparties:
           
                 1.         ThereleasebyStrand,whichalsoservesasthegeneralpartnerofHCMFA;and
                 2.         Thereleasebyeach“HCMLPEntity”ofits“respectivecurrentadvisors,trustees,directors,
                            officers,managers,members,partners,currentorformeremployees,beneficiaries,
                            shareholders,agents,participants,subsidiaries,parents,affiliates,successors,designees,
                            andassigns.”
           
           Wewouldlikethefinalsentenceinparagraph1.a.oftheReleasetoberevisedtospecificallyidentify
           HCMFAandtheclosedͲendfundsaspartiesnotcoveredbytherelease.Pleaseletmeknowifyou’dlike
           todiscussinmoredetail.
           
             
           D.C. S AU T E R | G E N E R A L C O U N S E L , R E A L E S T A T E 
            
           <image001.jpg>
            
           300 Crescent Court | Suite 700 | Dallas, Texas 75201
           O: 972.628.4117 | C: 469.877.6440 | F: 972.628.4147
           dsauter@nexpointadvisors.com | www.NexPointGroup.com

                                                                  3
                                                                                                             Appx. 02970
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   
   
                                                                                                                                                      
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   <AcisͲRelease(EXECUTIONVERSION).pdf>




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                                                                                                                                   Appx. 02971
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           20-03190-sgj
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                                                                             1 ofof531
                                                                                       Docket #0059 Date Filed: 1/12/2021




The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 11, 2021
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
                                                                  §
     In re:                                                           Chapter 11
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                             Case No. 19-34054-sgj11
                                                                  §
                                                                  §
                                      Debtor.
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §
                                                                  §   Adversary Proceeding No.
                                      Plaintiff,
                                                                  §
                                                                  §   No. 20-03190-sgj
     vs.
                                                                  §
                                                                  §
     JAMES D. DONDERO,
                                                                  §
                                      Defendant.                  §

           ORDER GRANTING DEBTOR’S MOTION FOR A PRELIMINARY INJUNCTION
                             AGAINST JAMES DONDERO

              This matter having come before the Court on Plaintiff Highland Capital Management,

     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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  L.P.’s Emergency Motion for a Temporary Restraining Order and Preliminary Injunction

  against Mr. James Dondero [Adv. Pro. Docket No. 2] (the “Motion”), filed by Highland Capital

  Management, L.P., the debtor and debtor-in-possession (the “Debtor”) in the above-captioned

  chapter 11 case (the “Bankruptcy Case”), and the plaintiff in the above-captioned adversary

  proceeding (the “Adversary Proceeding”); and this Court having considered (a) the Motion, (b)

  Plaintiff Highland Capital Management, L.P.’s Verified Original Complaint for Injunctive Relief

  [Adv. Pro. Docket No. 1] (the “Complaint”), (c) the arguments and law cited in the Debtor’s

  Amended Memorandum of Law in Support of its Motion for a Temporary Restraining Order and

  Preliminary Injunction against Mr. James Dondero [Adv. Pro. Docket No. 3] (the

  “Memorandum of Law,” and together with the Motion and Complaint, the “Debtor’s Papers”),

  (d) James Dondero’s Response in Opposition to Debtor’s Motion for a Preliminary Injunction

  [Adv. Pro. Docket No. 52] (the “Opposition”) filed by James Dondero, (e) the testimonial and

  documentary evidence admitted into evidence during the hearing held on January 8, 2021 (the

  “Hearing”), including assessing the credibility of Mr. James Dondero, (f) the arguments made

  during the Hearing, and (g) all prior proceedings relating to the Motion, including the December

  10, 2020 hearing on the Debtor’s Motion for a Temporary Restraining Order and Preliminary

  Injunction against James Dondero [Adv. Pro. Docket No. 6] (the “TRO Hearing”); and this

  Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court

  having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

  having found that venue of this proceeding and the Motion in this District is proper pursuant to

  28 U.S.C. §§ 1408 and 1409; and this Court having found that injunctive relief is warranted

  under sections 105(a) and 362(a) of the Bankruptcy Code and that the relief requested in the

  Motion is in the best interests of the Debtor’s estate, its creditors, and other parties-in-interest;



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  and this Court having found that the Debtor’s notice of the Motion and opportunity for a hearing

  on the Motion were appropriate and that no other notice need be provided; and this Court having

  determined that the legal and factual bases set forth in the Debtor’s Papers, and the evidence

  submitted in support thereof, establish good cause for the relief granted herein, and that (1) such

  relief is necessary to avoid immediate and irreparable harm to the Debtor’s estate and

  reorganization process; (2) the Debtor is likely to succeed on the merits of its underlying claim

  for injunctive relief; (3) the balance of the equities tip in the Debtor’s favor; and (4) such relief

  serves the public interest; and upon all of the proceedings had before this Court; and after due

  deliberation and sufficient cause appearing therefor and for the reasons set forth in the record on

  this Motion, it is HEREBY ORDERED THAT:

          1.       The Motion is GRANTED as set forth herein.

          2.       James Dondero is preliminarily enjoined and restrained from (a) communicating

  (whether orally, in writing, or otherwise), directly or indirectly, with any Board member unless

  Mr. Dondero’s counsel and counsel for the Debtor are included in any such communication; (b)

  making any express or implied threats of any nature against the Debtor or any of its directors,

  officers, employees, professionals, or agents, in whatever capacity they are acting; (c)

  communicating with any of the Debtor’s employees, except as it specifically relates to shared

  services currently provided to affiliates owned or controlled by Mr. Dondero; (d) interfering with

  or otherwise impeding, directly or indirectly, the Debtor’s business, including but not limited to

  the Debtor’s decisions concerning its operations, management, treatment of claims, disposition

  of assets owned, controlled or managed by the Debtor, and the pursuit of the Plan or any




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  alternative to the Plan; and (e) otherwise violating section 362(a) of the Bankruptcy Code

  (collectively, the “Prohibited Conduct”). 2

          3.       James Dondero is further preliminarily enjoined and restrained from causing,

  encouraging, or conspiring with (a) any entity owned or controlled by him, and/or (b) any person

  or entity acting with him or on his behalf, to, directly or indirectly, engage in any Prohibited

  Conduct.

          4.       James Dondero is further preliminarily enjoined and restrained from

  communicating (in person, telephonically, by e-mail, text message or otherwise) with Scott

  Ellington and/or Isaac Leventon, unless otherwise ordered by the Court.

          5.       James Dondero is further preliminarily enjoined and restrained from physically

  entering, or virtually entering through the Debtor’s computer, email, or information systems, the

  Debtor’s offices located at Crescent Court in Dallas, Texas, or any other offices or facilities

  owned or leased by the Debtor, regardless of any agreements, subleases, or otherwise, held by

  the Debtor’s affiliates or entities owned or controlled by Mr. Dondero, without the prior written

  permission of Debtor’s counsel made to Mr. Dondero’s counsel. If Mr. Dondero enters the

  Debtor’s office or other facilities or systems without such permission, such entrance will

  constitute trespass.

          6.       James Dondero is ordered to attend all future hearings in this Bankruptcy Case by

  Webex (or whatever other video platform is utilized by the Court), unless otherwise ordered by

  the Court.

          7.       This Order shall remain in effect until the date that any plan of reorganization or

  liquidation resolving the Debtor’s case becomes effective, unless otherwise ordered by the Court.

  2
   For the avoidance of doubt, this Order does not enjoin or restrain Mr. Dondero from (1) seeking judicial relief
  upon proper notice or from objecting to any motion filed in this Bankruptcy Case, or (2) communicating with the
  committee of unsecured creditors (the “UCC”) and its professionals regarding a pot plan.

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          8.       All objections to the Motion are overruled in their entirety.

          9.       The Court shall retain exclusive jurisdiction with respect to all matters arising

  from or relating to the implementation, interpretation, and enforcement of this Order.


                                       ### END OF ORDER ###




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                            EXHIBIT 182




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                            EXHIBIT 183




             INTENTIONALLY

                        OMITTED




                                                                    Appx. 02981
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                            EXHIBIT 184




                                                                    Appx. 02982
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D. Michael Lynn
State Bar I.D. No. 12736500
John Y. Bonds, III
State Bar I.D. No. 02589100
Clay M. Taylor
State Bar I.D. No. 24033261
Bryan C. Assink
State Bar I.D. No. 24089009
BONDS ELLIS EPPICH SCHAFER JONES LLP
420 Throckmorton Street, Suite 1000
Fort Worth, Texas 76102
(817) 405-6900 telephone
(817) 405-6902 facsimile

ATTORNEYS FOR DEFENDANT JAMES DONDERO

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                            §                                  Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                                  Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
v.                                 §                                 Adversary No. 21-03003
                                   §
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §

          DEFENDANT JAMES DONDERO’S RULE 26 INITIAL DISCLOSURES

TO:      Plaintiff Highland Capital Management, L.P., by and through its attorneys of record, John
         Morris, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los
         Angeles, CA 90067.


         Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, made applicable to this

proceeding through Rule 7026 of the Federal Rules of Bankruptcy Procedure, Defendant James




RULE 26 INITIAL DISCLOSURES                                                                 PAGE 1

                                                                                       Appx. 02983
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Dondero (“Dondero” or “Defendant”) makes the following initial disclosures to Plaintiff Highland

Capital Management, L.P. (“Plaintiff” or “Debtor”). 1

1.       The names, and, if known, the addresses, and telephone numbers of individuals likely
         to have discoverable information, along with the subjects of that information are
         listed below. Defendant reserves the right to amend and/or supplement these
         disclosures.

ANSWER:

James D. Dondero
c/o D. Michael Lynn
Clay M. Taylor
Bryan C. Assink
BONDS ELLIS EPPICH SCHAFER JONES LLP
420 Throckmorton Street, Suite 1000
Fort Worth, Texas 76102
Attorneys for Defendant

Dondero may have knowledge regarding the claims, defenses, and factual circumstances at issue
in the Debtor’s complaint and this adversary proceeding, including, without limitation, the terms
of the promissory notes, the drafting and execution of the notes, the agreement of the Debtor to
not collect on the notes upon fulfillment of conditions subsequent, the purpose and intent of the
notes, the Debtor’s prior use of forgivable loans, and Dondero’s compensation from the Debtor
during his employment.


Highland Capital Management, L.P. and certain of its current employees
c/o John Morris
PACHULSKI STANG ZIEHL & JONES LLP
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Attorneys for Plaintiff

Debtor and certain of its current employees, including potentially Thomas Surgent, David Klos,
and Kristen Hendrix, may have knowledge regarding the claims, defenses, and factual
circumstances at issue in the Debtor’s complaint and Dondero’s defenses to the allegations in the
complaint, including the circumstances surrounding the execution of the notes and related
transfers, the agreement of the Debtor to not collect on the notes upon fulfillment of conditions

1 Defendant makes these disclosures subject in all respects to his Motion for Withdrawal of the Reference [Adv. Dkt.

No. 21] and the Motion to Stay Pending the Motion to Withdraw the Reference of Plaintiff’s Complaint [Adv. Dkt.
No. 22] filed on April 15, 2021. Defendant does not waive, but instead hereby preserves, his right to a jury trial and
all rights and requests for relief asserted in the motions. Defendant does not consent to the Bankruptcy Court
determining this proceeding or entering final orders or judgments in this proceeding. Instead, Defendant requests that
the reference be withdrawn and that the District Court adjudicate this proceeding.



RULE 26 INITIAL DISCLOSURES                                                                                   PAGE 2

                                                                                                        Appx. 02984
